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                       EXHIBIT A
        Elenita Ibarra-Pratt Declaration
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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                    BLUEFIELD DIVISION


    UNITED STATES OF AMERICA

          Plaintiff,

          v.                                                    Civil No. 1:22-cv-00458
    SOUL VAPOR, LLC, a corporation, and
    AURELIUS JEFFREY, an individual,                            DECLARATION OF ELENITA
                                                                IBARRA-PRATT
          Defendants.



I, Elenita Ibarra-Pratt, declare as follows:

         1.       I am the Deputy Director for Regulatory Affairs in the Office of Compliance and

Enforcement (“OCE”), Center for Tobacco Products (“CTP”), United States Food and Drug

Administration (“FDA”), located at 10903 New Hampshire Avenue, Silver Spring, Maryland

20993. 1 I have held this position since May 2022. I was the Director of OCE’s Division of

Promotion, Advertising, and Labeling (“DPAL”) from February 2011 to May 2022, and I began

my work at OCE in March 2010, as a Group Leader in DPAL.

         2.       I have a Bachelor of Science in Nursing from the University of Hawaii at Manoa,

and I have a Master’s in Public Health from San Diego State University.

         3.       OCE’s responsibilities include, among other things, implementing and enforcing

the Federal Food, Drug, and Cosmetic Act (the “Act”), as amended by the Family Smoking

Prevention and Tobacco Control Act, and its implementing regulations. The Act and its

regulations, among other things, impose requirements and restrictions on the sale,



1
 There is currently no Director for Regulatory Affairs in OCE, and, thus, Ms. Ibarra-Pratt is the highest ranking
official in that Office.

                                                          1
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manufacturing, and marketing of tobacco products. OCE is also responsible for monitoring

retailer, manufacturer, importer, and distributor compliance with the Act and its implementing

regulations and taking corrective action as appropriate; contracting with states and territories to

conduct compliance check inspections of tobacco product retailers; coordinating with FDA’s

Office of Regulatory Affairs, Tobacco Operations Staff to conduct tobacco product manufacturer

inspections; initiating administrative enforcement actions for documented violations of the law;

coordinating compliance and judicial enforcement activities relating to tobacco products; and

conducting compliance reviews of tobacco product document submissions.

       4.      As OCE’s Deputy Director for Regulatory Affairs, my responsibilities include

leading and managing inspections and investigations of tobacco product manufacturers

(including, e.g., vape shops), distributors, and importers; reviewing inspectional reports for

determining compliance with the Act and applicable regulations; conducting pre-market and

post-market compliance reviews and reviews of other regulatory submissions; and supporting

regulatory and enforcement actions relating to tobacco products.

       5.      In my official capacity, I have gained personal knowledge about the Act and its

implementing regulations governing tobacco products and CTP’s tobacco products enforcement

program, including how CTP investigates violations of the laws regarding tobacco products and

initiates enforcement actions. I also have personal knowledge regarding CTP’s premarket

authorization requirements under section 910 of the Act (21 U.S.C. § 387j) for new tobacco

products, and CTP’s domestic establishment registration requirements under section 905(b) of

the Act (21 U.S.C. § 387e(b)). I am familiar with the information processing, filing, and other

recordkeeping duties performed by FDA employees relating to tobacco products, and I have

access to the agency databases containing information on the registration of domestic



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establishments, the listing of tobacco products, tobacco compliance and enforcement actions, and

tobacco product marketing applications.

       6.      The records discussed below regarding FDA’s compliance actions and

conversations with Defendants regarding their tobacco products operations are information that

FDA collects as part of its regularly conducted business activity. For compliance and

enforcement actions, it is FDA’s regular practice to upload and store such records in an FDA

internal database, known as the Compliance Management System (“CMS”), which is in the

Office of Regulatory Affairs’ custody and control and allows users to develop a compliance or

enforcement action and store supporting evidence in an electronic format within a centralized

module. The information is then retained and accessible to all FDA organizational units

involved in the action. The records discussed herein were collected as part of FDA’s regularly

conducted business activities and, consistent with FDA’s regular practice, have been uploaded

to, and stored in, CMS.

       7.      The agency databases with which I am familiar and have access to include:

               a.        Inventory Tracking Recording and Control (“iTRAC”), a portal that

houses all firm submissions;

               b.        Image, a central repository that contains tobacco product submissions

(including premarket tobacco product applications (“PMTAs”)), correspondence, and FDA’s

reviews relating to such submissions;

               c.        Tobacco Registration & Product Listing Module Next Generation

(“TRLM-NG”), a system through which persons engaged in the manufacture, preparation,

compounding, or processing of tobacco products are required to register domestic establishments

and list products; and



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               d.      Office of Science Information Regulatory Information System

(“OSiRIS”), a database that houses information on regulatory submissions made to CTP under

the substantial equivalence (“SE”) pathway for new tobacco products, including reports

submitted under 21 U.S.C. § 387e(j) for new tobacco products (“SE reports”); information on

regulatory submissions made to CTP under the SE exemption pathway for new tobacco products,

including exemption requests submitted under 21 C.F.R. § 1107.1 (“exemption requests”) and

abbreviated reports submitted under 21 U.S.C. § 387e(j)(1) (“abbreviated report”) for new

tobacco products; and orders issued by FDA under the SE and SE exemption pathways.

       8.      The statements in this declaration are based upon my experience, personal

knowledge, and official FDA business records relating to Defendants. The exhibits attached to

this declaration are all true and accurate copies of official FDA records that are accessible to me

or are in my custody or control in my official capacity. FDA makes and retains these business

records in the ordinary course of its regulatory duties.

                                     Regulatory Background

       9.      The Act defines “tobacco product” as “any product made or derived from

tobacco, or containing nicotine from any source, that is intended for human consumption,

including any component, part, or accessory of a tobacco product.” 21 U.S.C. § 321(rr).

       10.     Electronic nicotine delivery systems (“ENDS”) products, which “include devices,

components, and/or parts that deliver aerosolized e-liquid when inhaled,” are “tobacco products”

under the Act. FDA, Guidance for Industry: Enforcement Priorities for Electronic Nicotine

Delivery Systems (ENDS) and Other Deemed Products on the Market Without Premarket

Authorization (Revised)* (Apr. 2020), 9, https://perma.cc/WN8P-EHU6. E-liquids “are a type of




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ENDS product and generally refer to liquid nicotine and nicotine-containing e-liquids (i.e., liquid

nicotine combined with colorings, flavorings, and/or other ingredients).” Id. at 10.

       11.      The Act defines “new tobacco product” to include “any tobacco product . . . that

was not commercially marketed in the United States as of February 15, 2007.” 21 U.S.C.

§ 387j(a)(1).

       12.      All new tobacco products must have FDA authorization prior to their marketing.

See 21 U.S.C. § 387j(a)(2)(A). A new tobacco product may receive FDA marketing

authorization through one of three pathways: (1) the PMTA pathway under 21 U.S.C. § 387j,

through which FDA reviews a PMTA and issues an order permitting marketing of the new

tobacco product (“MGO”) under 21 U.S.C. § 387j(c)(1)(A)(i) upon a finding that the product is

appropriate for the protection of the public health; (2) the SE pathway under 21 U.S.C. §

387j(a)(2)(A)(i), through which FDA reviews an SE report for the product and issues an order

determining, among other things, that it is substantially equivalent to a tobacco product

commercially marketed in the U.S. as of February 15, 2007, or a tobacco product marketed after

that date, but which FDA previously determined to be substantially equivalent (“SE order”); or

(3) the SE exemption pathway under 21 U.S.C. § 387j(a)(2)(A)(ii), through which FDA reviews

an exemption request and an abbreviated report for the product, and issues a “found-exempt”

order pursuant to 21 U.S.C. § 387e(j)(3)(A).

       13.      Any person who owns or operates a domestic establishment—i.e., any

establishment in any State engaged in the manufacture, preparation, compounding, or processing

of a tobacco product—must annually register with FDA the name, place of business, and all such

establishments of that person. 21 U.S.C. § 387e(b). Additionally, every person who registers

with FDA must, at the time of registration, file a list of all tobacco products manufactured,



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prepared, compounded, or processed by that person for commercial distribution, and biannually

update such list thereafter. 21 U.S.C. § 387e(i).

                        Defendants’ Lack of Marketing Authorization

       14.     In the course of my official duties and as a result of my review of the official

records, I am familiar with the ENDS products manufactured, prepared, compounded, or

processed by Defendants (“Defendants’ ENDS products”), and CTP’s activities related to

Defendants.

       15.     Soul Vapor, LLC (“Soul Vapor”) is a West Virginia Limited Liability

Corporation. A true and accurate copy of the West Virginia Secretary of State – Online Data

Services, Business and Licensing for Soul Vapor is attached as Exhibit (“Ex.”) 1.

       16.     Soul Vapor has over 2,100 ENDS products listed with FDA, including Soul

Vapor Honey Pot and Soul Vapor Peach Rings. A true and accurate copy of Soul Vapor’s

products listed with FDA in TRLM-NG is attached as Ex. 2.

       17.     FDA maintains on its website a public database of tobacco products that FDA has

determined were commercially marketed in the United States as of February 15, 2007, and

therefore are “pre-existing” tobacco products. See FDA, Standalone Pre-Existing

Determinations, https://perma.cc/VT9M-ZGZR. This database does not include any Pre-Existing

Determinations issued to Soul Vapor or Aurelius Jeffrey. To date, FDA has not made any Pre-

Existing Determinations, or issued an SE order or a “found-exempt” order for any ENDS

product.

       18.     Defendants’ ENDS products are new tobacco products. OCE searched all internal

databases containing relevant information to determine whether Soul Vapor or Aurelius Jeffrey

has marketing authorization for any of Defendants’ ENDS products. Each database is unique in



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how information is stored and retrieved, and industry, from time-to-time, inadvertently submits

documents to the wrong system. OCE checks all systems to ensure that no submission is missed.

         19.      For Defendants, OCE searched OSiRIS, TRLM-NG, iTRAC, and Image, for

keywords that included: “Soul Vapor, LLC”; “Mr. Aurelius Jeffrey”; “Soul Vapor Honey Pot”;

and “Soul Vapor Peach Rings.” The results were:

                  a.       OSiRIS had no information about Defendants;

                  b.       TRLM-NG provided Soul Vapor’s product list, and Soul Vapor Honey Pot

and Soul Vapor Peach Rings were included in the product list;

                  c.       iTRAC returned two letters and an ingredient listing that included Soul

Vapor Honey Pot and Soul Vapor Peach Rings, 2 but no PMTAs or other relevant submissions;

and

                  d.       Image returned the same two letters and ingredient listing as iTRAC, but

no PMTAs or other relevant submissions.

         20.      Defendants have not submitted marketing applications for any of Defendants’

ENDS products, and Defendants have not received any found-exempt orders, SE orders, or

MGOs from FDA for any of Defendants’ ENDS products.

               Defendants’ Materially False Domestic Establishment Registration

         21.      In the course of my official duties and as a result of my review of the official

records, I am likewise familiar with Defendants’ registration history for their domestic

establishments, and CTP’s activities related to such registration history.




2
 Under the Act, each tobacco product manufacturer must submit to FDA an “ingredient listing”—i.e., “a listing of
all ingredients, including tobacco, substances, compounds, and additives that are, as of such date, added by the
manufacturer to the tobacco, paper, filter, or other part of each tobacco product, by brand and by quantity in each
brand and subbrand.” 21 U.S.C. § 387d(a)(1).

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       22.     On September 20, 2018, Defendants registered Soul Vapor as an owner or

operator of a single domestic establishment, located at “604 Thorn Street FRNT, Princeton, WV

24740, US,” in FDA’s TRLM-NG. A true and accurate copy of the registration profile for Soul

Vapor in the TRLM-NG browser, is attached as Ex. 3.

       23.     On September 20, 2021, Defendants submitted an annual registration to FDA. In

that registration, Defendants changed the activity status for Soul Vapor’s single domestic

establishment, located at 604 Thorn Street FRNT, Princeton, WV 24740, US, from “active” to

“inactive,” and reported, as a reason, that the establishment was “[o]ut of business.” A true and

accurate copy of the registration change log in the TRLM-NG browser, is attached as Ex. 4.

       24.     Between March 23 and 25, 2022, FDA inspected Soul Vapor’s single domestic

establishment, located at 604 Thorn Street FRNT, Princeton, WV 24740, US. During the

inspection, FDA investigators observed that, contrary to Defendants’ September 20, 2021 annual

registration, the establishment was “active”—not “inactive” and “out of business”—as

Defendants were engaged in the manufacture of tobacco products at such location.

                           Inspectional History and Prior Warnings

       25.     OCE monitors tobacco product retailer, manufacturer, importer, and distributor

compliance with the Act and its implementing regulations and takes corrective action as

appropriate. Actions that OCE may take include sending a Warning Letter to a firm that is found

to be non-compliant or recommending an enforcement action, such as injunction, civil money

penalty, or criminal prosecution.

       26.     On March 21, 2021, OCE conducted a review of Soul Vapor’s website. OCE

observed that the website represented that Soul Vapor manufactures ENDS products, including

Soul Vapor Honey Pot and Soul Vapor Peach Rings, and offers them for sale or distribution to



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consumers in the United States. OCE also documented that the Soul Vapor website is registered

to Defendants, and that FDA has not issued any marketing authorization orders for Soul Vapor

Honey Pot or Soul Vapor Peach Rings. A true and correct copy of screenshots from Soul

Vapor’s website (Exs. 5–7) and registration for the Soul Vapor website (Ex. 8) are attached as

Exs. 5 through 8

       27.     OCE reviewed the results of the March 21, 2021 website review, and on May 21,

2021, sent Defendants a Warning Letter. The Warning Letter stated that FDA had determined

that they “manufacture and offer for sale or distribution to customers in the United States e-

liquid products without a marketing authorization order including Soul Vapor Honey Pot and

Soul Vapor Peach Rings.” The Warning Letter further stated: “Your firm is a registered

manufacturer with over 2,100 products listed with FDA. It is your responsibility to ensure that

your tobacco products . . . comply with each applicable provision of the [] Act and FDA’s

implementing regulations. Failure to address any violations of the [] Act . . . relating to tobacco

products including the tobacco regulations . . . may lead to regulatory action, including, but not

limited to . . . injunction.” The Warning Letter further explained: “The violations discussed in

this letter do not necessarily constitute an exhaustive list. You should address any violations that

are referenced above, as well as violations that are the same as or similar to those stated above,

and promptly take any necessary actions to bring your tobacco products into compliance with the

[] Act.” A true and accurate copy of the Warning Letter is attached to this declaration as Ex. 9.

       28.     OCE held a teleconference with Aurelius Jeffrey on June 8, 2021, to answer any

questions regarding the violations cited in the Warning Letter. Later that same day, OCE

received an email response to the Warning Letter from Mr. Jeffrey. In the email, Mr. Jeffrey

stated he would have “the product removed from our shelves and put in it [sic] our stock room by



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the end of the week,” “work on filing [PMTAs for] our products with the FDA as soon as

possible,” and “contact [FDA] if I have any questions.” A true and accurate copy of Mr.

Jeffrey’s email is attached to this declaration as Ex. 10.

       29.     OCE held another teleconference with Aurelius Jeffrey on July 20, 2021, after

observing that Soul Vapor’s website still offered for sale or distribution ENDS products that

lacked FDA marketing authorization. Later that same day, OCE received an email from Mr.

Jeffrey, wherein he stated that “ejuice is no longer being manufactured as [sic] is no longer

available for purchase” and that Defendants had “resolved the concerns [FDA] . . . referenced in

both the warning letter and the teleconferences.” A true and accurate copy of Mr. Jeffrey’s email

is attached to this declaration as Ex. 11.

       30.     As noted above, between March 23 and 25, 2022, FDA conducted an inspection at

Soul Vapor’s single domestic establishment, located at 604 Thorn Street FRNT, Princeton, WV

24740, US. During that inspection, FDA observed that Defendants had not taken the

aforementioned corrective actions promised by Mr. Jeffrey in his June 8, 2021 and July 20, 2021

emails. Specifically, FDA observed that Defendants continued to manufacture ENDS products,

including finished e-liquids under the Soul Vapor brand, that lacked required FDA authorization,

and offer them for sale on the retail shelves of Defendants’ establishment.




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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.
                                            Elenita Y. Ibarra-    Digitally signed by Elenita Y.
                                                                  Ibarra-pratt -S
                                            pratt -S              Date: 2023.02.10 14:55:27 -05'00'

                                             Elenita Ibarra-Pratt
                                             Deputy Director for Regulatory Affairs
                                             Office of Compliance and Enforcement
                                             Center for Tobacco Products
                                             United States Food and Drug Administration

                                             Executed on February 10, 2023




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                       EXHIBIT A
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  SOUL VAPOR LLC



   Organization Information
   Org Type                            Effective Date      Established Date      Filing Date   Charter       Class    Sec Type   Termination Date      Termination Reason

   LLC | Limited Liability
                                       6/28/2021                                 6/28/2021     Domestic      Profit
   Company




   Organization Information
                                   4539 - Retail Trade - Miscellaneous Store
          Business                 Retailers - Other Miscellaneous Store Retailers
                                   Including Mobile Home Dealers (pet, art,
                                                                                                 Capital Stock
          Purpose
                                   tobacco)

     Charter County                Mercer                                                       Control Number

       Charter State               WV                                                            Excess Acres

                                                                                                    Member
        At Will Term               A                                                                                     MBR
                                                                                                    Managed

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             Years

         Authorized                                                                                  Young
                                                                                                                         No
          Shares                                                                                  Entrepreneur




   Addresses
   Type                                                      Address

                                                             604 THORN ST FRNT
         Designated Office Address                           PRINCETON, WV, 24740
                                                             604 THORN ST FRNT
                   Mailing Address                           PRINCETON, WV, 24740
                                                             USA
                                                             JEFFREY AURELIUS
         Notice of Process Address                           604 THORN ST FRNT
                                                             PRINCETON, WV, 24740
                                                             604 THORN ST FRNT
           Principal Office Address                          PRINCETON, WV, 24740
                                                             USA
   Type                                                      Address




   Officers
   Type                                                      Name/Address

                                                             JEFFREY AURELIUS
                        Member                               604 THORN ST FRNT
                                                             PRINCETON, WV, 24740
                                                             JEFFREY AURELIUS
                       Organizer                             604 THORN ST FRNT
                                                             PRINCETON, WV, 24740
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  Monday, June 13, 2022 — 9:10 AM

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RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28JZ                   Soul Va por | Honey Pot 60VG 6mg 30ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102930S6N60V                                       Honey Pot                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28JZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SJB5                   Soul Va por | Cl a s s i c Reds 70VG 6mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1016120S6N70V                                      Cl a s s i c Reds 70VG 6mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SJB5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDXN                   Soul Va por | Cl a s s i c Menthol s 60VG 6mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1015120S6N60V                                      Cl a s s i c Menthol s 60VG 6mg 120ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDXN
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7W8                   Soul Va por | Cri s py Ca kes 60VG 3mg 120ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1021120S3N60V                                      Cri s py Ca kes 60VG 3mg 120ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7W8
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GZBJ                   Soul Va por | Angel Brea th 70VG 12mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100030S12N70V                                      Angel Brea th 70VG 12mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GZBJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCR6                   Soul Va por | Bl ood Dra gon Ma xVG 6mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100330S6NMAXV                                      Bl ood Dra gon Ma xVG 6mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCR6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28NK                   Soul Va por | Ki ngs Brew 70VG 6mg 120ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1032120S6N70V                                      Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28NK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29KF                   Soul Va por | Sun Tea rs 60VG 6mg 120ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1053120S6N60V                                      Sun Tea rs                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29KF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMVG                   Soul Va por | Coconut Crea m Ma xVG 12mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1017120S12NMAXV                                    Coconut Crea m Ma xVG 12mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMVG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y6W7                   Soul Va por | Bl ueberry Ja mmy 60VG 0mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1064120S0N60V                                      Bl ueberry Ja mmy 60VG 0mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y6W7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28ST                   Soul Va por | Bl ueberry Pa nca kes 70VG 12mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1062120S12N70V                                     Bl ueberry Pa nca kes                                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28ST
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28MZ                   Soul Va por | Jus t Mi nt 70VG 3mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103130S3N70V                                       Jus t Mi nt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28MZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2976                   Soul Va por | Purpl e Da ze 60VG 12mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1044120S12N60V                                     Purpl e Da ze                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2976
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29M3                   Soul Va por | Sun Tea rs 70VG 12mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105330S12N70V                                      Sun Tea rs                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29M3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1DK                   Soul Va por | Bonbon 70VG 0mg 30ml                                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102230S0N70V                                       Bonbon 70VG 0mg 30ml                                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1DK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28MS                   Soul Va por | Jus t Mi nt 70VG 18mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1031120S18N70V                                     Jus t Mi nt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28MS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28Z9                   Soul Va por | Moon Mi l k Ma xVG 3mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103930S3NMAXV                                      Moon Mi l k                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28Z9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28S2                   Soul Va por | Lol a Cherry Col a 70VG 3mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103430S3N70V                                       Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28S2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1PY                   Soul Va por | Cherry Chees eca ke 60VG 3mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1012120S3N60V                                      Cherry Chees eca ke 60VG 3mg 120ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1PY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28NY                   Soul Va por | Ki ngs Brew Ma xVG 0mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103230S0NMAXV                                      Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28NY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28SW                   Soul Va por | Bl ueberry Pa nca kes 60VG 18mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1062120S18N60V                                     Bl ueberry Pa nca kes                                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28SW
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29PT                   Soul Va por | Tooty Froots 70VG 18mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1056120S18N70V                                     Tooty Froots                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29PT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP291G                   Soul Va por | PB&J Gra ha ms Ma xVG 6mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104230S6NMAXV                                      PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP291G
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7Y0                   Soul Va por | Drea m Crea m Ma xVG 18mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1023120S18NMAXV                                    Drea m Crea m Ma xVG 18mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7Y0
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29JF                   Soul Va por | Sucker Punch 70VG 0mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1059120S6N70V                                      Sucker Punch                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29JF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD9V                   Soul Va por | Bubbl emel on 70VG 18mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100730S18N70V                                      Bubbl emel on 70VG 18mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD9V
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7YX                   Soul Va por | Drea mers Mi l k 70VG 12mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1024120S12N70V                                     Drea mers Mi l k 70VG 12mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7YX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29TT                   Soul Va por | Zebra Bl ood 70VG 12mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1058120S12N70V                                     Zebra Bl ood                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29TT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMHB                   Soul Va por | Cl a s s i c Reds 60VG 24mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101630S24N60V                                      Cl a s s i c Reds 60VG 24mg 30ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMHB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP295J                   Soul Va por | Pi nea ppl e Ri ngs 60VG 6mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106330S6N60V                                       Pi nea ppl e Ri ngs                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP295J
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29FX                   Soul Va por | Snow Dra gon Ma xVG 6mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104930S6NMAXV                                      Snow Dra gon                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29FX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29FZ                   Soul Va por | Snow Dra gon 70VG 12mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104930S12N70V                                      Snow Dra gon                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29FZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP290B                   Soul Va por | Pa i s l ey Lynn Ma xVG 3mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104030S3NMAXV                                      Pa i s l ey Lynn                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP290B
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29FM                   Soul Va por | Snow Dra gon 60VG 0mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104930S0N60V                                       Snow Dra gon                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29FM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5JT9V                   Soul Va por | Cl a s s i c Crus h Ma xVG 3mg 30ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101330S3NMAXV                                      Cl a s s i c Crus h Ma xVG 3mg 30ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5JT9V
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28P2                   Soul Va por | Ki ngs Brew 60VG 6mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103230S6N60V                                       Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28P2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y849                   Soul Va por | Fuji Appl e Drea m Ma xVG 0mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1026120S0NMAXV                                     Fuji Appl e Drea m Ma xVG 0mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y849
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28X4                   Soul Va por | Mi nt Fudge Browni e Ma xVG 0mg 30ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103730S0NMAXV                                      Mi nt Fudge Browni e                                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28X4
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29V6                   Soul Va por | Zebra Bl ood 70VG 6mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105830S6N70V                                       Zebra Bl ood                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29V6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5H01D                   Soul Va por | Ba na na Puddi ng 70VG 3mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1002120S3N70V                                      Ba na na Puddi ng 70VG 3mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5H01D
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP293F                   Soul Va por | Pea nut Butter Pi e Ma xVG 3mg 30ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106530S3NMAXV                                      Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP293F
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29CF                   Soul Va por | Sa ngui ne Necta r 60VG 18mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1047120S18N60V                                     Sa ngui ne Necta r                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29CF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29V4                   Soul Va por | Zebra Bl ood Ma xVG 3mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105830S3NMAXV                                      Zebra Bl ood                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29V4
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1CH                   Soul Va por | Ca ra cci no 60VG 0mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101030S0N60V                                       Ca ra cci no 60VG 0mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1CH
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD3J                   Soul Va por | Bomb-Ade 70VG 0mg 30ml                                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100530S0N70V                                       Bomb-Ade 70VG 0mg 30ml                                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD3J
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD9S                   Soul Va por | Bubbl emel on Ma xVG 12mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100730S12NMAXV                                     Bubbl emel on Ma xVG 12mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD9S
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29DG                   Soul Va por | Sca redy Ca t 60VG 18mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1048120S18N60V                                     Sca redy Ca t                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29DG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28VR                   Soul Va por | Ma ngo Mel ons 60VG 6mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1036120S6N60V                                      Ma ngo Mel ons                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28VR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SKGP                   Soul Va por | Cl a s s i c Reds Ma xVG 6mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1016120S6NMAXV                                     Cl a s s i c Reds Ma xVG 6mg 120ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SKGP
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28RM                   Soul Va por | Lol a Cherry Col a 60VG 6mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1034120S6N60V                                      Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28RM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDWJ                   Soul Va por | Cl a s s i c Li ghts 70VG 3mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1014120S3N70V                                      Cl a s s i c Li ghts 70VG 3mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDWJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP296D                   Soul Va por | Pomedra gon 70VG 0mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104330S0N70V                                       Pomedra gon                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP296D
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28P0                   Soul Va por | Ki ngs Brew 70VG 3mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103230S3N70V                                       Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28P0
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28XM                   Soul Va por | Monkey Brea d 70VG 0mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1038120S070V                                       Monkey Brea d                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28XM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP298S                   Soul Va por | Ra zzl ed 60VG 12mg 30ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105930S12N60V                                      Ra zzl ed                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP298S
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1SC                   Soul Va por | Cl a s s i c Crus h 60VG 24mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1013120S24N60V                                     Cl a s s i c Crus h 60VG 24mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1SC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1RZ                   Soul Va por | Cl a s s i c Crus h 60VG 3mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1013120S3N60V                                      Cl a s s i c Crus h 60VG 3mg 120ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1RZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2999                   Soul Va por | Red Li cori ce 70VG 12mg 120ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1045120S12N70V                                     Red Li cori ce                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2999
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD9J                   Soul Va por | Bubbl emel on 70VG 3mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100730S3N70V                                       Bubbl emel on 70VG 3mg 30ml                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD9J
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y6WS                   Soul Va por | Bl ueberry Ja mmy 70VG 3mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1064120S3N70V                                      Bl ueberry Ja mmy 70VG 3mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y6WS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29F1                   Soul Va por | Sca redy Ca t 70VG 18mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104830S18N70V                                      Sca redy Ca t                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29F1
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7YN                   Soul Va por | Drea mers Mi l k 60VG 3mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1024120S3N60V                                      Drea mers MIl k 60VG 3mg 120ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7YN
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1FP                   Soul Va por | Ca t's Pa ja ma s 60VG 3mg 30ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101130S3N60V                                       Ca t's Pa ja ma s 60VG 3mg 30ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1FP
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28XX                   Soul Va por | Monkey Brea d 60VG 12mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1038120S12N60V                                     Monkey Brea d                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28XX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD7T                   Soul Va por | Bomb-Ade 70VG 18mg 30ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100530S18N70V                                      Bomb-Ade 70VG 18mg 30ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD7T
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28ZC                   Soul Va por | Moon Mi l k 70VG 6mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103930S6N70V                                       Moon Mi l k                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28ZC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29G1                   Soul Va por | Snow Dra gon 60VG 18mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104930S18N60V                                      Snow Dra gon                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29G1
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1R7                   Soul Va por | Cherry Chees eca ke 60VG 18mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1012120S18N60V                                     Cherry Chees eca ke 60VG 18mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1R7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMX0                   Soul Va por | Bonbon 70VG 12mg 30ml                                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102230S12N70V                                      Bonbon 70VG 12mg 30ml                                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMX0
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28R3                   Soul Va por | Lemon Cooki e 60VG 6mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103330S6N60V                                       Lemon Cooki e                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28R3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2939                   Soul Va por | Pea nut Butter Pi e 70VG 0mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106530S0N70V                                       Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2939
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP290F                   Soul Va por | Pa i s l ey Lynn Ma xVG 6mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104030S6NMAXV                                      Pa i s l ey Lynn                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP290F
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7TK                   Soul Va por | Cool Pa s s i on Ma xVG 18mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101830S18NMAXV                                     Cool Pa s s i on Ma xVG 18mg 30ml                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7TK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD34                   Soul Va por | Bomb-Ade 70VG 3mg 120ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1005120S3N70V                                      Bomb-Ade 70VG 3mg 120ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD34
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCPT                   Soul Va por | Bl ood Dra gon Ma xVG 12mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1003120S12NMAXV                                    Bl ood Dra gon Ma xVG 12mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCPT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7YP                   Soul Va por | Drea mers Mi l k 70VG 3mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1024120S3N70V                                      Drea mers Mi l k 70VG 3mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7YP
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GXZG                   Soul Va por | Angel Brea th Ma xVG 0mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100030M0NMAXV                                      Angel Brea th Ma xVG 0mg 30ml                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GXZG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2919                   Soul Va por | PB&J Gra ha ms 60VG 3mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104230S3N60V                                       PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2919
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1FS                   Soul Va por | Ca t's Pa ja ma s Ma xVG 3mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101130S3NMAXV                                      Ca t's Pa ja ma s Ma xVG 3mg 30ml                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1FS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP299S                   Soul Va por | Red Li cori ce Ma xVG 6mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104530S6NMAXV                                      Red Li cori ce                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP299S
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28PH                   Soul Va por | Lemon Cooki e 70VG 3mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1033120S3N70V                                      Lemon Cooki e                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28PH
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28V2                   Soul Va por | Lovers Mi l k Ma xVG 0mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103530S0NMAXV                                      Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28V2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28TM                   Soul Va por | Lovers Mi l k 70VG 3mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1035120S3N70V                                      Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28TM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J0NT                   Soul Va por | Bucks Bl end 70VG 0mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100830S0N70V                                       Bucks Bl end 70VG 0mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J0NT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7TN                   Soul Va por | Cool Wa ters 70VG 0mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101930S0N70V                                       Cool Wa ters 70VG 0mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7TN
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7VM                   Soul Va por | Cotton Ca ndy Ma xVG 18mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1020120S18NMAXV                                    Cotton Ca ndy Ma xVG 18mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7VM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28TT                   Soul Va por | Lovers Mi l k 60VG 12mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1035120S12N60V                                     Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28TT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDY3                   Soul Va por | Cl a s s i c Menthol s 70VG 3mg 30ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101530S3N70V                                       Cl a s s i c Menthol s 70VG 3mg 30ml                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDY3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GZD1                   Soul Va por | Ba na na Appl e Crea m 60VG 0mg 30ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100130S0N60V                                       Ba na na Appl e Crea m 60VG 0mg 30ml                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GZD1
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP296G                   Soul Va por | Pomedra gon 60VG 3mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104330S3N60V                                       Pomedra gon                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP296G
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29NJ                   Soul Va por | The 'Bri na 70VG 6mg 120ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1055120S6N70V                                      The 'Bri na                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29NJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD3D                   Soul Va por | Bomb-Ade 60VG 18mg 120ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1005120S18N60V                                     Bomb-Ade 60VG 18mg 120ml                                                                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD3D
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29FS                   Soul Va por | Snow Dra gon 70VG 3mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104930S3N70V                                       Snow Dra gon                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29FS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP295S                   Soul Va por | Pi nea ppl e Ri ngs 60VG 18mg 30ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106330S18N60V                                      Pi nea ppl e Ri ngs                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP295S
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP293Y                   Soul Va por | Peca n Pi e 70VG 3mg 120ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1066120S3N70V                                      Peca n Pi e                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP293Y
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y80R                   Soul Va por | Endl es s Summer 70VG 6mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102530S6N70V                                       Endl es s Summer 70VG 6mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y80R
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29TX                   Soul Va por | Zebra Bl ood 70VG 18mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1058120S18N70V                                     Zebra Bl ood                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29TX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28TJ                   Soul Va por | Lovers Mi l k Ma xVG 0mg 120ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1035120S0NMAXV                                     Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28TJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMGW                   Soul Va por | Cl a s s i c Reds 70VG 0mg 30ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101630S0N70V                                       Cl a s s i c Reds 70VG 0mg 30ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMGW
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1DG                   Soul Va por | Bonbon 70VG 18mg 120ml                                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1022120S18N70V                                     Bonbon 70VG 18mg 120ml                                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1DG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCPX                   Soul Va por | Bl ood Dra gon Ma xVG 18mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1003120S18NMAXV                                    Bl ood Dra gon Ma xVG 18mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCPX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7V5                   Soul Va por | Cotton Ca ndy 70VG 0mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1020120S0N70V                                      Cotton Ca ndy 70VG 0mg 120ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7V5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y803                   Soul Va por | Endl es s Summer Ma xVG 6mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1025120S6NMAXV                                     Endl es s Summer Ma xVG 6mg 120ml                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y803
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD2D                   Soul Va por | Bl ueberry Chees eca ke 69VG 18mg 120ml                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1004120S18N69V                                     Bl ueberry Chees eca ke 69VG 18mg 120ml                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD2D
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7Z2                   Soul Va por | Drea mers Mi l k 60VG 0mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102430S0N60V                                       Drea mers Mi l k 60VG 0mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7Z2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDWT                   Soul Va por | Cl a s s i c Li ghts Ma xVG 12mg 120ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1014120S12NMAXV                                    Cl a s s i c Li ghts Ma xVG 12mg 120ml                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDWT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2991                   Soul Va por | Red Li cori ce Ma xVG 0mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1045120S0NMAXV                                     Red Li cori ce                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2991
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y80D                   Soul Va por | Endl es s Summer Ma xVG 0mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102530S0NMAXV                                      Endl es s Summer Ma xVG 0mg 30ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y80D
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMHR                   Soul Va por | Cl a s s i c Menthol s Ma xVG 24mg 120ml                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1015120S24NMAXV                                    Cl a s s i c Menthol s Ma xVG 24mg 120ml                                                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMHR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP296P                   Soul Va por | Pomedra gon 60VG 12mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104330S12N60V                                      Pomedra gon                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP296P
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29PR                   Soul Va por | Tooty Froots Ma xVG 12mg 120ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1056120S12NMAXV                                    Tooty Froots                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29PR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7X9                   Soul Va por | Cri s py Ca kes 60VG 12mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102130S12N60V                                      Cri s py Ca kes 60VG 12mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7X9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29VG                   Soul Va por | Iced Stra wberry 60VG 0mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1067120S0N60V                                      Iced Stra wberry                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29VG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMVS                   Soul Va por | Coconut Crea m 70VG 3mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101730S3N70V                                       Coconut Crea m 70VG 3mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMVS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28X2                   Soul Va por | Mi nt Fudge Browni e 60VG 0mg 30ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103730S0N60V                                       Mi nt Fudge Browni e                                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28X2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28YF                   Soul Va por | Monkey Brea d 70VG 12mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103830S12N70V                                      Monkey Brea d                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28YF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28VM                   Soul Va por | Ma ngo Mel ons 60VG 3mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1036120S3N60V                                      Ma ngo Mel ons                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28VM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP297N                   Soul Va por | Purpl e Da ze 70VG 6mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104430S6N70V                                       Purpl e Da ze                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP297N
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29KG                   Soul Va por | Sun Tea rs 70VG 6mg 120ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1053120S6N70V                                      Sun Tea rs                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29KG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29VW                   Soul Va por | Iced Stra wberry Ma xVG 12mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1067120S12NMAXV                                    Iced Stra wberry                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29VW
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28NW                   Soul Va por | Ki ngs Brew 60VG 0mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103230S0N60V                                       Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28NW
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1RY                   Soul Va por | Cl a s s i c Crus h Ma xVG 0mg 120ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1013120S0NMAXV                                     Cl a s s i c Crus h Ma xVG 0mg 120ml                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1RY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J0NX                   Soul Va por | Bucks Bl end 70VG 3mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100830S3N70V                                       Bucks Bl end 70VG 3mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J0NX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7YY                   Soul Va por | Drea mers Mi l k Ma xVG 12mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1024120S12NMAXV                                    Drea mers Mi l k Ma xVG 12mg 120ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7YY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29JY                   Soul Va por | Sucker Punch 60VG 0mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105930S6N60V                                       Sucker Punch                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29JY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28S7                   Soul Va por | Lol a Cherry Col a 60VG 12mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103430S12N60V                                      Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28S7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7WY                   Soul Va por | Cri s py Ca kes 70VG 18mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1021120S18N70V                                     Cri s py Ca kes 70VG 18mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7WY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28HM                   Soul Va por | Gra pe-A-Berry 60VG 18mg 120ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1028120S18N60V                                     Gra pe-A-Berry                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28HM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29GY                   Soul Va por | Stra wberry Shortca ke Ma xVG 6mg 30ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105130S6NMAXV                                      Stra wberry Shortca ke                                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29GY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7Y3                   Soul Va por | Drea m Crea m Ma xVG 0mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102330S0NMAXV                                      Drea m Crea m Ma xVG 0mg 30ml                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7Y3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28W2                   Soul Va por | Ma ngo Mel ons 70VG 0mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103630S0N70V                                       Ma ngo Mel ons                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28W2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDYG                   Soul Va por | Cl a s s i c Reds 60VG 0mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1016120S0N60V                                      Cl a s s i c Reds 60VG 0mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDYG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J0P9                   Soul Va por | Ca mpfi re S'mores 70VG 0mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1009120S0N70V                                      Ca mpfi re S'mores 70VG 0mg 120ml                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J0P9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29BF                   Soul Va por | Red Vel vet Ca ke 70VG 18mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1046120S18N70V                                     Red Vel vet Ca ke                                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29BF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7S8                   Soul Va por | Cool Pa s s i on 70VG 6mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1018120S6N70V                                      Cool Pa s s i on 70VG 6mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7S8
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28ZW                   Soul Va por | Pa i s l ey Lynn 60VG 6mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1040120S6N60V                                      Pa i s l ey Lynn                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28ZW
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GXZC                   Soul Va por | Angel Brea th Ma xVG 18mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1000120M18NMAXV                                    Angel Brea th Ma xVG 18mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GXZC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28MK                   Soul Va por | Jus t Mi nt Ma xVG 6mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1031120S6NMAXV                                     Jus t Mi nt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28MK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5JTB1                   Soul Va por | Cl a s s i c Crus h Ma xVG 6mg 30ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101330S6NMAXV                                      Cl a s s i c Crus h Ma xVG 6mg 30ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5JTB1
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28GW                   Soul Va por | Gl oom La goon Ma xVG 3mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102730S6N60V                                       Gl oom La goon                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28GW
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29PJ                   Soul Va por | Tooty Froots 60VG 6mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1056120S6N60V                                      Tooty Froots                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29PJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GXZN                   Soul Va por | Angel Brea th 70VG 6mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100030S6N70V                                       Angel Brea th 70VG 6mg 30ml                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GXZN
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2982                   Soul Va por | Ra zzl ed 70VG 3mg 120ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1059120S3N70V                                      Ra zzl ed                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2982
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD33                   Soul Va por | Bomb-Ade 60VG 3mg 120ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1005120S3N60V                                      Bomb-Ade 60VG 3mg 120ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD33
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7SH                   Soul Va por | Cool Pa s s i on 70VG 18mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1018120S18N70V                                     Cool Pa s s i on 70VG 18mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7SH
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29R6                   Soul Va por | Tooty Froots 70VG 12mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105630S12N70V                                      Tooty Froots                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29R6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29D9                   Soul Va por | Sca redy Ca t 70VG 6mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1048120S6N70V                                      Sca redy Ca t                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29D9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP291Y                   Soul Va por | Pea ch Ri ngs 60VG 6mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1041120S6N60V                                      Pea ch Ri ngs                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP291Y
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GZD9                   Soul Va por | Ba na na Appl e Crea m Ma xVG 6mg 30ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100130S6NMAXV                                      Ba na na Appl e Crea m Ma xVG 6mg 30ml                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GZD9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28PV                   Soul Va por | Lemon Cooki e 70VG 18mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1033120S18N70V                                     Lemon Cooki e                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28PV
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP290X                   Soul Va por | PB&J Gra ha ms 60VG 6mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1042120S6N60V                                      PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP290X
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7W0                   Soul Va por | Cotton Ca ndy 70VG 12mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102030S12N70V                                      Cotton Ca ndy 70VG 12mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7W0
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28JM                   Soul Va por | Honey Pot Ma xVG 12mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1029120S12NMAXV                                    Honey Pot                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28JM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP291S                   Soul Va por | Pea ch Ri ngs 70VG 0mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1041120S070V                                       Pea ch Ri ngs                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP291S
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5H029                   Soul Va por | Ba na na Puddi ng Ma xVG 18mg 30ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100230S18NMAXV                                     Ba na na Puddi ng Ma xVG 18mg 30ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5H029
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7ZB                   Soul Va por | Drea mers Mi l k Ma xVG 6mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102430S6NMAXV                                      Drea mers Mi l k Ma xVG 6mg 30ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7ZB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28NM                   Soul Va por | Ki ngs Brew Ma xVG 6mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1032120S6NMAXV                                     Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28NM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP296B                   Soul Va por | Pomedra gon Ma xVG 18mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1043120S18NMAXV                                    Pomedra gon                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP296B
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMWD                   Soul Va por | Bonbon Ma xVG 6mg 120ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1022120S6NMAXV                                     Bonbon Ma xVG 6mg 120ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMWD
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1RH                   Soul Va por | Cherry Chees eca ke Ma xVG 3mg 30ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101230S3NMAXV                                      Cherry Chees eca ke Ma xVG 3mg 30ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1RH
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28GS                   Soul Va por | Gl oom La goon Ma xVG 0mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102730S3N60V                                       Gl oom La goon                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28GS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMVX                   Soul Va por | Coconut Crea m Ma xVG 6mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101730S6NMAXV                                      Coconut Crea m Ma xVG 6mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMVX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y79G                   Soul Va por | Cool Pa s s i on 60VG 6mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1018120S6N60V                                      Cool Pa s s i on 60VG 6mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y79G
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDXJ                   Soul Va por | Cl a s s i c Menthol s 60VG 3mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1015120S3N60V                                      Cl a s s i c Menthol s 60VG 3mg 120ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDXJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28TS                   Soul Va por | Lovers Mi l k Ma xVG 6mg 120ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1035120S6NMAXV                                     Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28TS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7TZ                   Soul Va por | Cool Wa ters 70VG 12mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101930S12N70V                                      Cool Wa ters 70VG 12mg 30ml                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7TZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29MF                   Soul Va por | Sweet Ta rt Ma xVG 3mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1054120S3NMAXV                                     Sweet Ta rt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29MF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7ZP                   Soul Va por | Endl es s Summer 70VG 0mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1025120S0N70V                                      Endl es s Summer 70VG 0mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7ZP
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SKGV                   Soul Va por | Cl a s s i c Reds Ma xVG 12mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1016120S12NMAXV                                    Cl a s s i c Reds Ma xVG 12mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SKGV
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29DK                   Soul Va por | Sca redy Ca t 60VG 0mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104830S0N60V                                       Sca redy Ca t                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29DK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28ND                   Soul Va por | Ki ngs Brew Ma xVG 0mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1032120S0NMAXV                                     Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28ND
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDX0                   Soul Va por | Cl a s s i c Li ghts Ma xVG 0mg 30ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101430S0NMAXV                                      Cl a s s i c Li ghts Ma xVG 0mg 30ml                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDX0
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDYC                   Soul Va por | Cl a s s i c Menthol s 60VG 18mg 30ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101530S18N60V                                      Cl a s s i c Menthol s 60VG 18mg 30ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDYC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28GD                   Soul Va por | Gl oom La goon 70VG 6mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1027120S6N70V                                      Gl oom La goon                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28GD
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28H7                   Soul Va por | Gra pe-A-Berry 70VG 0mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1028120S0N70V                                      Gra pe-A-Berry                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28H7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7W5                   Soul Va por | Cri s py Ca kes 60VG 0mg 120ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1021120S0N60V                                      Cri s py Ca kes 60VG 0mg 120ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7W5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29K2                   Soul Va por | Sucker Punch 70VG 0mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105930S12N70V                                      Sucker Punch                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29K2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29K3                   Soul Va por | Sucker Punch Ma xVG 0mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105930S12NMAXV                                     Sucker Punch                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29K3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD9D                   Soul Va por | Bubbl emel on 60VG 0mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100730S0N60V                                       Bubbl emel on 60VG 0mg 30ml                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD9D
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP294G                   Soul Va por | Peca n Pi e Ma xVG 3mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106630S3NMAXV                                      Peca n Pi e                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP294G
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2989                   Soul Va por | Ra zzl ed Ma xVG 12mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1059120S12NMAXV                                    Ra zzl ed                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2989
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMHG                   Soul Va por | Cl a s s i c Li ghts 70VG 24mg 120ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1014120S24N70V                                     Cl a s s i c Li ghts 70VG 24mg 120ml                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMHG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28NG                   Soul Va por | Ki ngs Brew 70VG 3mg 120ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1032120S3N70V                                      Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28NG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28JV                   Soul Va por | Honey Pot Ma xVG 0mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102930S0NMAXV                                      Honey Pot                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28JV
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMW6                   Soul Va por | Bonbon Ma xVG 0mg 120ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1022120S0NMAXV                                     Bonbon Ma xVG 0mg 120ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMW6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7Y9                   Soul Va por | Drea m Crea m Ma xVG 6mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102330S6NMAXV                                      Drea m Crea m Ma xVG 6mg 30ml                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7Y9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDXB                   Soul Va por | Cl a s s i c Li ghts 60VG 18mg 30ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101430S18N60V                                      Cl a s s i c Li ghts 60VG 18mg 30ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDXB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2925                   Soul Va por | Pea ch Ri ngs 70VG 18mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1041120S18N70V                                     Pea ch Ri ngs                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2925
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28M7                   Soul Va por | Hot Sa uce 70VG 18mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103030S18N70V                                      Hot Sa uce                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28M7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28S6                   Soul Va por | Lol a Cherry Col a Ma xVG 6mg 30ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103430S6NMAXV                                      Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28S6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7X5                   Soul Va por | Cri s py Ca kes Ma xVG 3mg 30ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102130S3NMAXV                                      Cri s py Ca kes Ma xVG 3mg 30ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7X5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29DN                   Soul Va por | Sca redy Ca t Ma xVG 0mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104830S0NMAXV                                      Sca redy Ca t                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29DN
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29B0                   Soul Va por | Red Vel vet Ca ke 60VG 0mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1046120S0N60V                                      Red Vel vet Ca ke                                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29B0
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1PJ                   Soul Va por | Cha i Tea 70VG 6mg 30ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105030S6N70V                                       Cha i Tea 70VG 6mg 30ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1PJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29H1                   Soul Va por | Stra wberry Shortca ke Ma xVG 12mg 30ml                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105130S12NMAXV                                     Stra wberry Shortca ke                                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29H1
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y78H                   Soul Va por | Ca ndy Fi s h Ma xVG 6mg 120ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1061120S6NMAXV                                     Ca ndy Fi s h Ma xVG 6mg 120ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y78H
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28R5                   Soul Va por | Lemon Cooki e Ma xVG 6mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103330S6NMAXV                                      Lemon Cooki e                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28R5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP291Z                   Soul Va por | Pea ch Ri ngs 70VG 6mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1041120S6N70V                                      Pea ch Ri ngs                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP291Z
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDY1                   Soul Va por | Cl a s s i c Menthol s Ma xVG 0mg 30ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101530S0NMAXV                                      Cl a s s i c Menthol s Ma xVG 0mg 30ml                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDY1
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2957                   Soul Va por | Pi nea ppl e Ri ngs 60VG 18mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1063120S18N60V                                     Pi nea ppl e Ri ngs                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2957
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDY4                   Soul Va por | Cl a s s i c Menthol s Ma xVG 3mg 30ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101530S3NMAXV                                      Cl a s s i c Menthol s Ma xVG 3mg 30ml                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDY4
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD7Y                   Soul Va por | Bubbl eberry Ma xVG 0mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1006120S0NMAXV                                     Bubbl eberry Ma xVG 0mg 120ml                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD7Y
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1CS                   Soul Va por | Ca ra cci no 70VG 6mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101030S6N70V                                       Ca ra cci no 70VG 6mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1CS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GZCM                   Soul Va por | Ba na na Appl e Crea m 60VG 3mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1001120S3N60V                                      Ba na na Appl e Crea m 60VG 3mg 120ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GZCM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD96                   Soul Va por | Bubbl emel on 60VG 12mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1007120S12N60V                                     Bubbl emel on 60VG 12mg 120ml                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD96
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP291B                   Soul Va por | PB&J Gra ha ms 70VG 3mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104230S3N70V                                       PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP291B
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28Z4                   Soul Va por | Moon Mi l k 60VG 0mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103930S0N60V                                       Moon Mi l k                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28Z4
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMWX                   Soul Va por | Bonbon 70VG 6mg 30ml                                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102230S6N70V                                       Bonbon 70VG 6mg 30ml                                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMWX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GWSM                   Soul Va por                                                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1000120S0N60V                                      Angel Brea th 60VG 0mg 120ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GWSM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCPZ                   Soul Va por | Bl ood Dra gon 70VG 0mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100330S0N70V                                       Bl ood Dra gon 70VG 0mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCPZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD9K                   Soul Va por | Bubbl emel on 60VG 6mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100730S6N60V                                       Bubbl emel on 60VG 6mg 30ml                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD9K
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28JR                   Soul Va por | Honey Pot Ma xVG 18mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1029120S18NMAXV                                    Honey Pot                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28JR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28KT                   Soul Va por | Hot Sa uce 60VG 0mg 30ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103030S0N60V                                       Hot Sa uce                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28KT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCR2                   Soul Va por | Bl ood Dra gon 70VG 3mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100330S3N70V                                       Bl ood Dra gon 70VG 3mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCR2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDY6                   Soul Va por | Cl a s s i c Menthol s 70VG 6mg 30ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101530S6N70V                                       Cl a s s i c Menthol s 70VG 6mg 30ml                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDY6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28RZ                   Soul Va por | Lol a Cherry Col a 70VG 0mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103430S0N70V                                       Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28RZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMX3                   Soul Va por | Bonbon 70VG 18mg 30ml                                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102230S18N70V                                      Bonbon 70VG 18mg 30ml                                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMX3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP290D                   Soul Va por | Pa i s l ey Lynn 70VG 6mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104030S6N70V                                       Pa i s l ey Lynn                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP290D
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP291N                   Soul Va por | PB&J Gra ha ms 70VG 18mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104230S18N70V                                      PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP291N
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP292X                   Soul Va por | Pea nut Butter Pi e 70VG 3mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1065120S3N70V                                      Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP292X
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29B5                   Soul Va por | Red Vel vet Ca ke Ma xVG 3mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1046120S3NMAXV                                     Red Vel vet Ca ke                                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29B5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7TS                   Soul Va por | Cool Wa ters 70VG 3mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101930S3N70V                                       Cool Wa ters 70VG 3mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7TS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD90                   Soul Va por | Bubbl emel on 60VG 3mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1007120S3N60V                                      Bubbl emel on 60VG 3mg 120ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD90
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28VX                   Soul Va por | Ma ngo Mel ons Ma xVG 12mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1036120S12NMAXV                                    Ma ngo Mel ons                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28VX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29NN                   Soul Va por | The 'Bri na 70VG 12mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1055120S12N70V                                     The 'Bri na                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29NN
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28Y3                   Soul Va por | Monkey Brea d 60VG 0mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103830S0N60V                                       Monkey Brea d                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28Y3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28RD                   Soul Va por | Lol a Cherry Col a 60VG 0mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1034120S0N60V                                      Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28RD
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5H01T                   Soul Va por | Ba na na Puddi ng Ma xVG 18mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1002120S18NMAXV                                    Ba na na Puddi ng Ma xVG 18mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5H01T
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7YG                   Soul Va por | Drea m Crea m 70VG 18mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102330S18N70V                                      Drea m Crea m 70VG 18mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7YG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29C7                   Soul Va por | Sa ngui ne Necta r 60VG 6mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1047120S6N60V                                      Sa ngui ne Necta r                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29C7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28SH                   Soul Va por | Bl ueberry Pa nca kes Ma xVG 0mg 120ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1062120S0NMAXV                                     Bl ueberry Pa nca kes                                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28SH
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29RJ                   Soul Va por | Top Shel f Ma xVG 3mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1060120S3NMAXV                                     Top Shel f                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29RJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29PD                   Soul Va por | Tooty Froots Ma xVG 0mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1056120S0NMAXV                                     Tooty Froots                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29PD
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29GR                   Soul Va por | Stra wberry Shortca ke Ma xVG 0mg 30ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105130S0NMAXV                                      Stra wberry Shortca ke                                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29GR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD7R                   Soul Va por | Bomb-Ade 60VG 12mg 30ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100530S12N60V                                      Bomb-Ade 60VG 12mg 30ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD7R
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29GS                   Soul Va por | Stra wberry Shortca ke 60VG 3mg 30ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105130S3N60V                                       Stra wberry Shortca ke                                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29GS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP292V                   Soul Va por | Pea nut Butter Pi e Ma xVG 0mg 120ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1065120S0NMAXV                                     Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP292V
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29JN                   Soul Va por | Sucker Punch 70VG 0mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1059120S18N70V                                     Sucker Punch                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29JN
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28R9                   Soul Va por | Lemon Cooki e 60VG 18mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103330S18N60V                                      Lemon Cooki e                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28R9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1PC                   Soul Va por | Cha i Tea Ma xVG 0mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105030S0NMAXV                                      Cha i Tea Ma xVG 0mg 30ml                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1PC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7TM                   Soul Va por | Cool Wa ters 60VG 0mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101930S0N60V                                       Cool Wa ters 60VG 0mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7TM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7VC                   Soul Va por | Cotton Ca ndy 70VG 6mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1020120S6N70V                                      Cotton Ca ndy 70VG 6mg 120ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7VC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29VB                   Soul Va por | Zebra Bl ood Ma xVG 12mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105830S12NMAXV                                     Zebra Bl ood                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29VB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29PK                   Soul Va por | Tooty Froots 70VG 6mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1056120S6N70V                                      Tooty Froots                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29PK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y78Z                   Soul Va por | Ca ndy Fi s h 60VG 6mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106130S6N60V                                       Ca ndy Fi s h 60VG 6mg 30ml                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y78Z
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28TZ                   Soul Va por | Lovers Mi l k Ma xVG 18mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1035120S18NMAXV                                    Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28TZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y79H                   Soul Va por | Cool Pa s s i on 70VG 6mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1018120S6N70V                                      Cool Pa s s i on 70VG 6mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y79H
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28SR                   Soul Va por | Bl ueberry Pa nca kes Ma xVG 6mg 120ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1062120S6NMAXV                                     Bl ueberry Pa nca kes                                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28SR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29BV                   Soul Va por | Red Vel vet Ca ke 60VG 12mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104630S12N60V                                      Red Vel vet Ca ke                                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29BV
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29RR                   Soul Va por | Top Shel f 70VG 12mg 120ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1060120S12N70V                                     Top Shel f                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29RR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD7S                   Soul Va por | Bomb-Ade 60VG 18mg 30ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100530S18N60V                                      Bomb-Ade 60VG 18mg 30ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD7S
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28MD                   Soul Va por | Jus t Mi nt 60VG 3mg 120ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1031120S3N60V                                      Jus t Mi nt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28MD
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29KB                   Soul Va por | Sun Tea rs 60VG 3mg 120ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1053120S3N60V                                      Sun Tea rs                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29KB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28X9                   Soul Va por | Mi nt Fudge Browni e 70VG 6mg 30ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103730S6N70V                                       Mi nt Fudge Browni e                                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28X9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29DF                   Soul Va por | Sca redy Ca t Ma xVG 12mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1048120S12NMAXV                                    Sca redy Ca t                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29DF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28KD                   Soul Va por | Hot Sa uce 70VG 3mg 120ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1030120S3N70V                                      Hot Sa uce                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28KD
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMH3                   Soul Va por | Cl a s s i c Reds Ma xVG 6mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101630S6NMAXV                                      Cl a s s i c Reds Ma xVG 6mg 30ml                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMH3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP292H                   Soul Va por | Pea ch Ri ngs Ma xVG 6mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104130S6NMAXV                                      Pea ch Ri ngs                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP292H
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMH7                   Soul Va por | Cl a s s i c Reds 60VG 18mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101630S18N60V                                      Cl a s s i c Reds 60VG 18mg 30ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMH7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5H01M                   Soul Va por | Ba na na Puddi ng 60VG 12mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1002120S12N60V                                     Ba na na Puddi ng 60VG 12mg 120ml                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5H01M
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1F1                   Soul Va por | Bonbon Ma xVG 18mg 30ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102230S18NMAXV                                     Bonbon Ma xVG 18mg 30ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1F1
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28ZX                   Soul Va por | Pa i s l ey Lynn 70VG 6mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1040120S6N70V                                      Pa i s l ey Lynn                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28ZX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5GZCS                   Soul Va por | Ba na na Appl e Crea m 70VG 6mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1001120S6N70V                                      Ba na na Appl e Crea m 70VG 6mg 120ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5GZCS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1PT                   Soul Va por | Cha i Tea Ma xVG 18mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105030S18NMAXV                                     Cha i Tea Ma xVG 18mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1PT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28YP                   Soul Va por | Moon Mi l k Ma xVG 0mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1039120S0NMAXV                                     Moon Mi l k                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28YP
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28PM                   Soul Va por | Lemon Cooki e 70VG 6mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1033120S6N70V                                      Lemon Cooki e                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28PM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29CZ                   Soul Va por | Sa ngui ne Necta r 60VG 18mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104730S18N60V                                      Sa ngui ne Necta r                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29CZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP290C                   Soul Va por | Pa i s l ey Lynn 60VG 6mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104030S6N60V                                       Pa i s l ey Lynn                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP290C
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2981                   Soul Va por | Ra zzl ed 60VG 3mg 120ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1059120S3N60V                                      Ra zzl ed                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2981
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMWC                   Soul Va por | Bonbon 70VG 6mg 120ml                                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1022120S6N70V                                      Bonbon 70VG 6mg 120ml                                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMWC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29F5                   Soul Va por | Snow Dra gon Ma xVG 0mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1049120S0NMAXV                                     Snow Dra gon                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29F5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28J7                   Soul Va por | Honey Pot 60VG 0mg 120ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1029120S0N60V                                      Honey Pot                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28J7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDXK                   Soul Va por | Cl a s s i c Menthol s 70VG 3mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1015120S3N70V                                      Cl a s s i c Menthol s 70VG 3mg 120ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDXK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29SD                   Soul Va por | Turki s h Shi s ha 60VG 0mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1057120S0N60V                                      Turki s h Shi s ha                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29SD
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2944                   Soul Va por | Peca n Pi e 70VG 12mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1066120S12N70V                                     Peca n Pi e                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2944
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28W6                   Soul Va por | Ma ngo Mel ons Ma xVG 3mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103630S3NMAXV                                      Ma ngo Mel ons                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28W6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2965                   Soul Va por | Pomedra gon 60VG 12mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1043120S12N60V                                     Pomedra gon                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2965
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP292T                   Soul Va por | Pea nut Butter Pi e 70VG 0mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1065120S070V                                       Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP292T
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5H01W                   Soul Va por | Ba na na Puddi ng 70VG 0mg 30ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100230S0N70V                                       Ba na na Puddi ng 70VG 0mg 30ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5H01W
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCPY                   Soul Va por | Bl ood Dra gon 60VG 0mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100330S0N60V                                       Bl ood Dra gon 60VG 0mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCPY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29SV                   Soul Va por | Turki s h Shi s ha 60VG 18mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1057120S18N60V                                     Turki s h Shi s ha                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29SV
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2932                   Soul Va por | Pea nut Butter Pi e 60VG 12mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1065120S12N60V                                     Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2932
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29H8                   Soul Va por | Stra wberry Ta ffy 60VG 3mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1052120S3N60V                                      Stra wberry Ta ffy                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29H8
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HVP8                   Soul Va por | Bucks Bl end 60VG 12mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1008120S12N60V                                     Bucks Bl end 60VG 12mg 120ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HVP8
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y802                   Soul Va por | Endl es s Summer 70VG 6mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1025120S6N70V                                      Endl es s Summer 70VG 6mg 120ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y802
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y80C                   Soul Va por | Endl es s Summer 70VG 0mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102530S0N70V                                       Endl es s Summer 70VG 0mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y80C
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29N4                   Soul Va por | Sweet Ta rt 70VG 12mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105430S12N70V                                      Sweet Ta rt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29N4
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28ZF                   Soul Va por | Moon Mi l k 60VG 12mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103930S12N60V                                      Moon Mi l k                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28ZF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMW3                   Soul Va por | Coconut Crea m Ma xVG 18mg 30ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101730S18NMAXV                                     Coconut Crea m Ma xVG 18mg 30ml                                                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMW3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1P6                   Soul Va por | Cha i Tea 60VG 18mg 120ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1050120S18N60V                                     Cha i Tea 60VG 18mg 120ml                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1P6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMWT                   Soul Va por | Bonbon 70VG 3mg 30ml                                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102230S3N70V                                       Bonbon 70VG 3mg 30ml                                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMWT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29HM                   Soul Va por | Stra wberry Ta ffy 70VG 18mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1052120S18N70V                                     Stra wberry Ta ffy                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29HM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP292C                   Soul Va por | Pea ch Ri ngs 70VG 3mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104130S3N70V                                       Pea ch Ri ngs                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP292C
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1R2                   Soul Va por | Cherry Chees eca ke 70VG 6mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1012120S6N70V                                      Cherry Chees eca ke 70VG 6mg 120ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1R2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDXG                   Soul Va por | Cl a s s i c Menthol s 70VG 0mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1015120S0N70V                                      Cl a s s i c Menthol s 70VG 0mg 120ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDXG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28RJ                   Soul Va por | Lol a Cherry Col a 70VG 3mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1034120S3N70V                                      Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28RJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y781                   Soul Va por | Bl ueberry Ja mmy 60VG 18mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106430S18N60V                                      Bl ueberry Ja mmy 60VG 18mg 30ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y781
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5H012                   Soul Va por | Ba na na Appl e Crea m 60VG 18mg 30ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100130S18N60V                                      Ba na na Appl e Crea m 60VG 18mg 30ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5H012
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD2P                   Soul Va por | Bl ueberry Chees eca ke 60VG 6mg 30ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100430S6N60V                                       Bl ueberry Chees eca ke 60VG 6mg 30ml                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD2P
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29KR                   Soul Va por | Sun Tea rs Ma xVG 18mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1053120S18NMAXV                                    Sun Tea rs                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29KR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28VT                   Soul Va por | Ma ngo Mel ons Ma xVG 6mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1036120S6NMAXV                                     Ma ngo Mel ons                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28VT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y84B                   Soul Va por | Fuji Appl e Drea m 60VG 3mg 120ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1026120S3N60V                                      Fuji Appl e Drea m 60VG 3mg 120ml                                                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y84B
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2977                   Soul Va por | Purpl e Da ze 70VG 12mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1044120S12N70V                                     Purpl e Da ze                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2977
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD3G                   Soul Va por | Bomb-Ade Ma xVG 18mg 120ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1005120S18NMAXV                                    Bomb-Ade Ma xVG 18mg 120ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD3G
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP292Y                   Soul Va por | Pea nut Butter Pi e Ma xVG 3mg 120ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1065120S3NMAXV                                     Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP292Y
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP292Z                   Soul Va por | Pea nut Butter Pi e 60VG 6mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1065120S6N60V                                      Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP292Z
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1PF                   Soul Va por | Cha i Tea 70VG 3mg 30ml                                    i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105030S3N70V                                       Cha i Tea 70VG 3mg 30ml                                                                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1PF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28V5                   Soul Va por | Lovers Mi l k Ma xVG 3mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103530S3NMAXV                                      Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28V5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP290P                   Soul Va por | PB&J Gra ha ms 60VG 0mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1042120S0N60V                                      PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP290P
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7Z9                   Soul Va por | Drea mers Mi l k 70VG 6mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102430S6N70V                                       Drea mers Mi l k 70VG 6mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7Z9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28SC                   Soul Va por | Lol a Cherry Col a 70VG 18mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103430S18N70V                                      Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28SC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29F2                   Soul Va por | Sca redy Ca t Ma xVG 18mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104830S18NMAXV                                     Sca redy Ca t                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29F2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7SZ                   Soul Va por | Cool Wa ters 60VG 18mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1019120S18N60V                                     Cool Wa ters 60VG 18mg 120ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7SZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28HD                   Soul Va por | Gra pe-A-Berry 60VG 6mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1028120S6N60V                                      Gra pe-A-Berry                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28HD
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCRG                   Soul Va por | Bl ueberry Chees eca ke 69VG 0mg 120ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1004120S0N69V                                      Bl ueberry Chees eca ke 69VG 0mg 120ml                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCRG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1F7                   Soul Va por | Ca t's Pa ja ma s Ma xVG 3mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1011120S3NMAXV                                     Ca t's Pa ja ma s Ma xVG 3mg 120ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1F7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7Z7                   Soul Va por | Drea mers Mi l k Ma xVG 3mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102430S3NMAXV                                      Drea mers Mi l k Ma xVG 3mg 30ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7Z7
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28JC                   Soul Va por | Honey Pot 70VG 3mg 120ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1029120S3N70V                                      Honey Pot                                                                                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28JC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28MB                   Soul Va por | Jus t Mi nt 70VG 0mg 120ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1031120S070V                                       Jus t Mi nt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28MB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29KZ                   Soul Va por | Sun Tea rs 60VG 6mg 30ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105330S6N60V                                       Sun Tea rs                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29KZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP299K                   Soul Va por | Red Li cori ce 60VG 3mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104530S3N60V                                       Red Li cori ce                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP299K
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMV9                   Soul Va por | Coconut Crea m 60VG 6mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1017120S6N60V                                      Coconut Crea m 60VG 6mg 120ml                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMV9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29WG                   Soul Va por | Iced Stra wberry Ma xVG 18mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106730S18N60V                                      Iced Stra wberry                                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29WG
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP296M                   Soul Va por | Pomedra gon 70VG 6mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104330S6N70V                                       Pomedra gon                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP296M
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5H01P                   Soul Va por | Ba na na Puddi ng Ma xVG 12mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1002120S12NMAXV                                    Ba na na Puddi ng Ma xVG 12mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5H01P
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28SB                   Soul Va por | Lol a Cherry Col a 60VG 18mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103430S18N60V                                      Lol a Cherry Col a                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28SB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2947                   Soul Va por | Peca n Pi e 70VG 18mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1066120S18N70V                                     Peca n Pi e                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2947
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y72Y                   Soul Va por | Bl ueberry Ja mmy Ma xVG 12mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1064120S12NMAXV                                    Bl ueberry Ja mmy Ma xVG 12mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y72Y
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCRK                   Soul Va por | Bl ueberry Chees eca ke 69VG 3mg 120ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1004120S3N69V                                      Bl ueberry Chees eca ke 69VG 3mg 120ml                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCRK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7W4                   Soul Va por | Cotton Ca ndy Ma xVG 18mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102030S18NMAXV                                     Cotton Ca ndy Ma xVG 18mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7W4
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1F4                   Soul Va por | Ca t's Pa ja ma s Ma xVG 0mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1011120S0NMAXV                                     Ca t's Pa ja ma s Ma xVG 0mg 120ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1F4
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29HB                   Soul Va por | Stra wberry Ta ffy Ma xVG 3mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1052120S3NMAXV                                     Stra wberry Ta ffy                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29HB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDXW                   Soul Va por | Cl a s s i c Menthol s 60VG 18mg 120ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1015120S18N60V                                     Cl a s s i c Menthol s 60VG 18mg 120ml                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDXW
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29J6                   Soul Va por | Sucker Punch 60VG 0mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1059120S0N60V                                      Sucker Punch                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29J6
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5RDWY                   Soul Va por | Cl a s s i c Li ghts 60VG 0mg 30ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101430S0N60V                                       Cl a s s i c Li ghts 60VG 0mg 30ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5RDWY
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP295Y                   Soul Va por | Pomedra gon Ma xVG 0mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1043120S0NMAXV                                     Pomedra gon                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP295Y
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2916                   Soul Va por | PB&J Gra ha ms 60VG 0mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104230S0N60V                                       PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2916
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7V2                   Soul Va por | Cool Wa ters 70VG 18mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101930S18N70V                                      Cool Wa ters 70VG 18mg 30ml                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7V2
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1CM                   Soul Va por | Ca ra cci no 60VG 3mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101030S3N60V                                       Ca ra cci no 60VG 3mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1CM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5JX7V                   Soul Va por | Cl a s s i c Crus h Ma xVG 24mg 30ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101330S24NMAXV                                     Cl a s s i c Crus h Ma xVG 24mg 30ml                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5JX7V
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMHH                   Soul Va por | Cl a s s i c Li ghts Ma xVG 24mg 120ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1014120S24NMAXV                                    Cl a s s i c Li ghts Ma xVG 24mg 120ml                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMHH
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HD8H                   Soul Va por | Bubbl eberry 70VG 3mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100630S3N70V                                       Bubbl eberry 70VG 3mg 30ml                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HD8H
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29PC                   Soul Va por | Tooty Froots 70VG 0mg 120ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1056120S070V                                       Tooty Froots                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29PC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28WN                   Soul Va por | Mi nt Fudge Browni e 60VG 3mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1037120S3N60V                                      Mi nt Fudge Browni e                                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28WN
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP293D                   Soul Va por | Pea nut Butter Pi e 70VG 3mg 30ml                          i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106530S3N70V                                       Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP293D
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29MX                   Soul Va por | Sweet Ta rt 60VG 3mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105430S3N60V                                       Sweet Ta rt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29MX
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMWK                   Soul Va por | Bonbon 70VG 18mg 120ml                                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1022120S18N70V                                     Bonbon 70VG 18mg 120ml                                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMWK
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5HCR3                   Soul Va por | Bl ood Dra gon Ma xVG 3mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #100330S3NMAXV                                      Bl ood Dra gon Ma xVG 3mg 30ml                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5HCR3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28WM                   Soul Va por | Mi nt Fudge Browni e Ma xVG 0mg 120ml                      i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1037120S0NMAXV                                     Mi nt Fudge Browni e                                                                             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28WM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28GF                   Soul Va por | Gl oom La goon Ma xVG 6mg 120ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1027120S6NMAXV                                     Gl oom La goon                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28GF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29JR                   Soul Va por | Sucker Punch 60VG 0mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105930S0N60V                                       Sucker Punch                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29JR
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y84J                   Soul Va por | Fuji Appl e Drea m 60VG 12mg 120ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1026120S12N60V                                     Fuji Appl e Drea m 60VG 12mg 120ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y84J
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y79M                   Soul Va por | Cool Pa s s i on 70VG 12mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1018120S12N70V                                     Cool Pa s s i on 70VG 12mg 120ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y79M
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29GM                   Soul Va por | Stra wberry Shortca ke Ma xVG 18mg 120ml                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1051120S18NMAXV                                    Stra wberry Shortca ke                                                                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29GM
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29T3                   Soul Va por | Turki s h Shi s ha Ma xVG 3mg 30ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105730S3NMAXV                                      Turki s h Shi s ha                                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29T3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28VB                   Soul Va por | Lovers Mi l k 70VG 12mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103530S12N70V                                      Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28VB
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP290V                   Soul Va por | PB&J Gra ha ms 70VG 3mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1042120S3N70V                                      PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP290V
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP2931                   Soul Va por | Pea nut Butter Pi e Ma xVG 6mg 120ml                       i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1065120S6NMAXV                                     Pea nut Butter Pi e                                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP2931
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29MJ                   Soul Va por | Sweet Ta rt Ma xVG 6mg 120ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1054120S6NMAXV                                     Sweet Ta rt                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29MJ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5JTB5                   Soul Va por | Cl a s s i c Crus h 70VG 12mg 30ml                         i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101330S12N70V                                      Cl a s s i c Crus h 70VG 12mg 30ml                                                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5JTB5
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28V4                   Soul Va por | Lovers Mi l k 70VG 3mg 30ml                                i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103530S3N70V                                       Lovers Mi l k                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28V4
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP291P                   Soul Va por | PB&J Gra ha ms Ma xVG 18mg 30ml                            i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #104230S18NMAXV                                     PB&J Gra ha ms                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP291P
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28RC                   Soul Va por | Lemon Cooki e Ma xVG 18mg 30ml                             i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103330S18NMAXV                                     Lemon Cooki e                                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28RC
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMGP                   Soul Va por | Cl a s s i c Reds Ma xVG 18mg 120ml                        i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1016120S18NMAXV                                    Cl a s s i c Reds Ma xVG 18mg 120ml                                                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMGP
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28T8                   Soul Va por | Bl ueberry Pa nca kes Ma xVG 12mg 30ml                     i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #106230S12N60V                                      Bl ueberry Pa nca kes                                                                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28T8
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29VF                   Soul Va por | Zebra Bl ood Ma xVG 18mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105830S18NMAXV                                     Zebra Bl ood                                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29VF
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5SMVZ                   Soul Va por | Coconut Crea m 70VG 12mg 30ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101730S12N70V                                      Coconut Crea m 70VG 12mg 30ml                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5SMVZ
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5J1CT                   Soul Va por | Ca ra cci no Ma xVG 6mg 30ml                               i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #101030S6NMAXV                                      Ca ra cci no Ma xVG 6mg 30ml                                                                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5J1CT
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP299B                   Soul Va por | Red Li cori ce Ma xVG 12mg 120ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1045120S12NMAXV                                    Red Li cori ce                                                                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP299B
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29KS                   Soul Va por | Sun Tea rs 60VG 0mg 30ml                                   i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105330S0N60V                                       Sun Tea rs                                                                                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29KS
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP28P3                   Soul Va por | Ki ngs Brew 70VG 6mg 30ml                                  i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #103230S6N70V                                       Ki ngs Brew                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP28P3
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y80J                   Soul Va por | Endl es s Summer Ma xVG 3mg 30ml                           i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #102530S3NMAXV                                      Endl es s Summer Ma xVG 3mg 30ml                                                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y80J
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBDP29P9                   Soul Va por | The 'Bri na 60VG 18mg 30ml                                 i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #105530S18NMAXV                                     The 'Bri na                                                                                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBDP29P9
RG7647                    Soul Va por              604 Thorn Street FRNT,,       Pri nceton,WV,   24740,US i na cti ve                     3014759057 Newl y Deemed                  TPBD5Y7VJ                   Soul Va por | Cotton Ca ndy 60VG 18mg 120ml                              i na cti ve       El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d       Cons umer Us e          #1020120S18N60V                                     Cotton Ca ndy 60VG 18mg 120ml                                                                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com                       Yes                                  2021-09-20T18:26:51.000Z               Out of bus i nes s                         TPBD5Y7VJ
                                                                                                                                                                                                                                  Case 1:22-cv-00458          Document 11-1   Filed 02/14/23    Page 19 of 64 PageID #: 89




RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1FG   Soul Va por | Ca t's Pa ja ma s 60VG 18mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1011120S18N60V        Ca t's Pa ja ma s 60VG 18mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1FG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29RZ   Soul Va por | Top Shel f Ma xVG 0mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106030S0NMAXV         Top Shel f                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29RZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29GD   Soul Va por | Stra wberry Shortca ke Ma xVG 6mg 120ml     i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1051120S6NMAXV        Stra wberry Shortca ke                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29GD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28VW   Soul Va por | Ma ngo Mel ons 70VG 12mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1036120S12N70V        Ma ngo Mel ons                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28VW
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29SM   Soul Va por | Turki s h Shi s ha 60VG 6mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1057120S6N60V         Turki s h Shi s ha                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29SM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GZD5   Soul Va por | Ba na na Appl e Crea m 70VG 3mg 30ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100130S3N70V          Ba na na Appl e Crea m 70VG 3mg 30ml        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GZD5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0XZ   Soul Va por | Ca mpfi re S'mores 60VG 18mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100930S18N60V         Ca mpfi re S'mores 60VG 18mg 30ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0XZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1S4   Soul Va por | Cl a s s i c Crus h Ma xVG 6mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1013120S6NMAXV        Cl a s s i c Crus h Ma xVG 6mg 120ml        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1S4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1CY   Soul Va por | Ca ra cci no 60VG 18mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101030S18N60V         Ca ra cci no 60VG 18mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1CY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1DH   Soul Va por | Bonbon Ma xVG 18mg 120ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1022120S18NMAXV       Bonbon Ma xVG 18mg 120ml                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1DH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28RV   Soul Va por | Lol a Cherry Col a 60VG 18mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1034120S18N60V        Lol a Cherry Col a                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28RV
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28Z3   Soul Va por | Moon Mi l k Ma xVG 18mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1039120S18NMAXV       Moon Mi l k                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28Z3
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28YD   Soul Va por | Monkey Brea d 60VG 12mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103830S12N60V         Monkey Brea d                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28YD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NP   Soul Va por | The 'Bri na Ma xVG 12mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1055120S12NMAXV       The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1RS   Soul Va por | Cherry Chees eca ke 60VG 18mg 30ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101230S18N60V         Cherry Chees eca ke 60VG 18mg 30ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1RS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP290R   Soul Va por | PB&J Gra ha ms 70VG 0mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1042120S070V          PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP290R
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7XF   Soul Va por | Cri s py Ca kes 70VG 18mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102130S18N70V         Cri s py Ca kes 70VG 18mg 30ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7XF
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NF   Soul Va por | The 'Bri na 70VG 3mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1055120S3N70V         The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NF
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD2X   Soul Va por | Bl ueberry Chees eca ke 60VG 18mg 30ml      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100430S18N60V         Bl ueberry Chees eca ke 60VG 18mg 30ml      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD2X
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD2F   Soul Va por | Bl ueberry Chees eca ke Ma xVG 18mg 120ml   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1004120S18NMAXV       Bl ueberry Chees eca ke Ma xVG 18mg 120ml   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD2F
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1PP   Soul Va por | Cha i Tea Ma xVG 12mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105030S12NMAXV        Cha i Tea Ma xVG 12mg 30ml                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1PP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28YN   Soul Va por | Moon Mi l k 70VG 0mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1039120S070V          Moon Mi l k                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28YN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28R6   Soul Va por | Lemon Cooki e 60VG 12mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103330S12N60V         Lemon Cooki e                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28R6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP299C   Soul Va por | Red Li cori ce 60VG 18mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1045120S18N60V        Red Li cori ce                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP299C
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28WD   Soul Va por | Ma ngo Mel ons Ma xVG 12mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103630S12NMAXV        Ma ngo Mel ons                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28WD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29VN   Soul Va por | Iced Stra wberry Ma xVG 3mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1067120S3NMAXV        Iced Stra wberry                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29VN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5H01H   Soul Va por | Ba na na Puddi ng 60VG 6mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1002120S6N60V         Ba na na Puddi ng 60VG 6mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5H01H
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29KM   Soul Va por | Sun Tea rs Ma xVG 12mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1053120S12NMAXV       Sun Tea rs                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29KM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28WX   Soul Va por | Mi nt Fudge Browni e 70VG 12mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1037120S12N70V        Mi nt Fudge Browni e                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28WX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29S7   Soul Va por | Top Shel f 70VG 12mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106030S12N70V         Top Shel f                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29S7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y785   Soul Va por | Ca ndy Fi s h 70VG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1061120S0N70V         Ca ndy Fi s h 70VG 0mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y785
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28W1   Soul Va por | Ma ngo Mel ons 60VG 0mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103630S0N60V          Ma ngo Mel ons                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28W1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1FC   Soul Va por | Ca t's Pa ja ma s 60VG 12mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1011120S12N60V        Ca t's Pa ja ma s 60VG 12mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1FC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD87   Soul Va por | Bubbl eberry Ma xVG 12mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1006120S12NMAXV       Bubbl eberry Ma xVG 12mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD87
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7SD   Soul Va por | Cool Pa s s i on 70VG 12mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1018120S12N70V        Cool Pa s s i on 70VG 12mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7SD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29VK   Soul Va por | Iced Stra wberry 60VG 3mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1067120S3N60V         Iced Stra wberry                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29VK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28WW   Soul Va por | Mi nt Fudge Browni e 60VG 12mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1037120S12N60V        Mi nt Fudge Browni e                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28WW
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMX1   Soul Va por | Bonbon Ma xVG 12mg 30ml                     i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102230S12NMAXV        Bonbon Ma xVG 12mg 30ml                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMX1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7V6   Soul Va por | Cotton Ca ndy Ma xVG 0mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1020120S0NMAXV        Cotton Ca ndy Ma xVG 0mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7V6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1NT   Soul Va por | Cha i Tea 60VG 0mg 120ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1050120S0N60V         Cha i Tea 60VG 0mg 120ml                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1NT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29JG   Soul Va por | Sucker Punch Ma xVG 0mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1059120S6NMAXV        Sucker Punch                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29JG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28VD   Soul Va por | Lovers Mi l k 60VG 18mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103530S18N60V         Lovers Mi l k                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28VD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP290H   Soul Va por | Pa i s l ey Lynn 70VG 12mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104030S12N70V         Pa i s l ey Lynn                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP290H
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDYP   Soul Va por | Cl a s s i c Reds 60VG 6mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1016120S6N60V         Cl a s s i c Reds 60VG 6mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDYP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2922   Soul Va por | Pea ch Ri ngs 70VG 12mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1041120S12N70V        Pea ch Ri ngs                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2922
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29J5   Soul Va por | Stra wberry Ta ffy Ma xVG 18mg 30ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105230S18NMAXV        Stra wberry Ta ffy                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29J5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29GF   Soul Va por | Stra wberry Shortca ke 60VG 12mg 120ml      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1051120S12N60V        Stra wberry Shortca ke                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29GF
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDWX   Soul Va por | Cl a s s i c Li ghts Ma xVG 18mg 120ml      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1014120S18NMAXV       Cl a s s i c Li ghts Ma xVG 18mg 120ml      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDWX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y848   Soul Va por | Fuji Appl e Drea m 70VG 0mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1026120S0N70V         Fuji Appl e Drea m 70VG 0mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y848
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HCR7   Soul Va por | Bl ood Dra gon 60VG 12mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100330S12N60V         Bl ood Dra gon 60VG 12mg 30ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HCR7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP298B   Soul Va por | Ra zzl ed 60VG 18mg 120ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1059120S18N60V        Ra zzl ed                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP298B
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7XD   Soul Va por | Cri s py Ca kes 60VG 18mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102130S18N60V         Cri s py Ca kes 60VG 18mg 30ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7XD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28Y7   Soul Va por | Monkey Brea d 70VG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103830S3N70V          Monkey Brea d                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28Y7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28XN   Soul Va por | Monkey Brea d Ma xVG 0mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1038120S0NMAXV        Monkey Brea d                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28XN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMVB   Soul Va por | Coconut Crea m 70VG 6mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1017120S6N70V         Coconut Crea m 70VG 6mg 120ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMVB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29J7   Soul Va por | Sucker Punch 70VG 0mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1059120S070V          Sucker Punch                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29J7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7VY   Soul Va por | Cotton Ca ndy Ma xVG 6mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102030S6NMAXV         Cotton Ca ndy Ma xVG 6mg 30ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7VY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y796   Soul Va por | Ca ndy Fi s h 70VG 18mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106130S18N70V         Ca ndy Fi s h 70VG 18mg 30ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y796
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28WF   Soul Va por | Ma ngo Mel ons 60VG 18mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103630S18N60V         Ma ngo Mel ons                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28WF
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDWP   Soul Va por | Cl a s s i c Li ghts Ma xVG 6mg 120ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1014120S6NMAXV        Cl a s s i c Li ghts Ma xVG 6mg 120ml       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDWP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28K3   Soul Va por | Honey Pot 70VG 12mg 30ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102930S12N70V         Honey Pot                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28K3
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GXZK   Soul Va por | Angel Brea th Ma xVG 3mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100030M3NMAXV         Angel Brea th Ma xVG 3mg 30ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GXZK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1D1   Soul Va por | Bonbon 60VG 0mg 120ml                       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1022120S0N60V         Bonbon 60VG 0mg 120ml                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1D1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2966   Soul Va por | Pomedra gon 70VG 12mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1043120S12N70V        Pomedra gon                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2966
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7WF   Soul Va por | Cri s py Ca kes Ma xVG 6mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1021120S6NMAXV        Cri s py Ca kes Ma xVG 6mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7WF
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD8V   Soul Va por | Bubbl eberry 70VG 18mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100630S18N70V         Bubbl eberry 70VG 18mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD8V
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28S9   Soul Va por | Lol a Cherry Col a Ma xVG 12mg 30ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103430S12NMAXV        Lol a Cherry Col a                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28S9
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28T7   Soul Va por | Bl ueberry Pa nca kes Ma xVG 6mg 30ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106230S6NMAXV         Bl ueberry Pa nca kes                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28T7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2907   Soul Va por | Pa i s l ey Lynn Ma xVG 0mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104030S0NMAXV         Pa i s l ey Lynn                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2907
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29VS   Soul Va por | Iced Stra wberry Ma xVG 6mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1067120S6NMAXV        Iced Stra wberry                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29VS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28R7   Soul Va por | Lemon Cooki e 70VG 12mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102930S12N70V         Lemon Cooki e                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28R7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29N5   Soul Va por | Sweet Ta rt Ma xVG 12mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105430S12NMAXV        Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29N5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HCPK   Soul Va por | Bl ood Dra gon Ma xVG 3mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1003120S3NMAXV        Bl ood Dra gon Ma xVG 3mg 120ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HCPK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28K7   Soul Va por | Honey Pot Ma xVG 18mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102930S18NMAXV        Honey Pot                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28K7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28PD   Soul Va por | Lemon Cooki e 70VG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1033120S070V          Lemon Cooki e                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28PD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2955   Soul Va por | Pi nea ppl e Ri ngs 70VG 12mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1063120S12N70V        Pi nea ppl e Ri ngs                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2955
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2950   Soul Va por | Pi nea ppl e Ri ngs Ma xVG 3mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1063120S3NMAXV        Pi nea ppl e Ri ngs                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2950
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28S8   Soul Va por | Lol a Cherry Col a 70VG 12mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103430S12N70V         Lol a Cherry Col a                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28S8
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28HJ   Soul Va por | Gra pe-A-Berry 70VG 12mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1028120S12N70V        Gra pe-A-Berry                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28HJ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2914   Soul Va por | PB&J Gra ha ms 70VG 18mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1042120S18N70V        PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2914
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28NP   Soul Va por | Ki ngs Brew 70VG 12mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1032120S12N70V        Ki ngs Brew                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28NP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP293X   Soul Va por | Peca n Pi e 60VG 3mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1066120S3N60V         Peca n Pi e                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP293X
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28GR   Soul Va por | Gl oom La goon 70VG 0mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102730S0NMAXV         Gl oom La goon                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28GR
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMH4   Soul Va por | Cl a s s i c Reds 60VG 12mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101630S12N60V         Cl a s s i c Reds 60VG 12mg 30ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMH4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDXM   Soul Va por | Cl a s s i c Menthol s Ma xVG 3mg 120ml     i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1015120S3NMAXV        Cl a s s i c Menthol s Ma xVG 3mg 120ml     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDXM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7T2   Soul Va por | Cool Wa ters Ma xVG 12mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1019120S12NMAXV       Cool Wa ters Ma xVG 12mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7T2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7YM   Soul Va por | Drea mers Mi l k Ma xVG 0mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1024120S0NMAXV        Drea mers Mi l k Ma xVG 0mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7YM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28JF   Soul Va por | Honey Pot 60VG 6mg 120ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1029120S6N60V         Honey Pot                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28JF
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP298X   Soul Va por | Ra zzl ed 70VG 18mg 30ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105930S18N70V         Ra zzl ed                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP298X
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29MV   Soul Va por | Sweet Ta rt 70VG 0mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105430S0N70V          Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29MV
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NG   Soul Va por | The 'Bri na Ma xVG 3mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1055120S3NMAXV        The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1D2   Soul Va por | Bonbon 70VG 0mg 120ml                       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1022120S0N70V         Bonbon 70VG 0mg 120ml                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1D2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29MG   Soul Va por | Sweet Ta rt 60VG 6mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1054120S6N60V         Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29MG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP292M   Soul Va por | Pea ch Ri ngs Ma xVG 12mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104130S12NMAXV        Pea ch Ri ngs                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP292M
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28PW   Soul Va por | Lemon Cooki e Ma xVG 18mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1033120S18NMAXV       Lemon Cooki e                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28PW
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28J6   Soul Va por | Gra pe-A-Berry Ma xVG 18mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102830S18NMAXV        Gra pe-A-Berry                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28J6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP292G   Soul Va por | Pea ch Ri ngs 70VG 6mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104130S6N70V          Pea ch Ri ngs                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP292G
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7XR   Soul Va por | Drea m Crea m 60VG 6mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1023120S6N60V         Drea m Crea m 60VG 6mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7XR
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2969   Soul Va por | Pomedra gon 70VG 18mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1043120S18N70V        Pomedra gon                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2969
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GXYZ   Soul Va por | Angel Brea th MAXVG 0mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1000120M0NMAXV        Angel Brea th Ma xVG 0mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GXYZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HVNY   Soul Va por | Bucks Bl end 70VG 3mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1008120S3N70V         Bucks Bl end 70VG 3mg 120ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HVNY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP291H   Soul Va por | PB&J Gra ha ms 60VG 12mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104230S12N60V         PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP291H
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD2M   Soul Va por | Bl ueberry Chees eca ke 69VG 3mg 30ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100430S3N69V          Bl ueberry Chees eca ke 69VG 3mg 30ml       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD2M
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7X0   Soul Va por | Cri s py Ca kes 60VG 0mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102130S0N60V          Cri s py Ca kes 60VG 0mg 30ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7X0
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y77B   Soul Va por | Bl ueberry Ja mmy Ma xVG 6mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106430S6NMAXV         Bl ueberry Ja mmy Ma xVG 6mg 30ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y77B
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y808   Soul Va por | Endl es s Summer 70VG 18mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1025120S18N70V        Endl es s Summer 70VG 18mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y808
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2920   Soul Va por | Pea ch Ri ngs Ma xVG 6mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1041120S6NMAXV        Pea ch Ri ngs                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2920
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1DV   Soul Va por | Bonbon Ma xVG 6mg 30ml                      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102230S6NMAXV         Bonbon Ma xVG 6mg 30ml                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1DV
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP293P   Soul Va por | Pea nut Butter Pi e 60VG 18mg 30ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106530S18N60V         Pea nut Butter Pi e                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP293P
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1S1   Soul Va por | Cl a s s i c Crus h Ma xVG 3mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1013120S3NMAXV        Cl a s s i c Crus h Ma xVG 3mg 120ml        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1S1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP297W   Soul Va por | Purpl e Da ze 70VG 18mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104430S18N70V         Purpl e Da ze                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP297W
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP291D   Soul Va por | PB&J Gra ha ms 60VG 6mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104230S6N60V          PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP291D
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29B6   Soul Va por | Red Vel vet Ca ke 60VG 6mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1046120S6N60V         Red Vel vet Ca ke                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29B6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29BS   Soul Va por | Red Vel vet Ca ke 70VG 6mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104630S6N70V          Red Vel vet Ca ke                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29BS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29P5   Soul Va por | The 'Bri na 60VG 12mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105530S12N70V         The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29P5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0PB   Soul Va por | Ca mpfi re S'mores Ma xVG 0mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1009120S0NMAXV        Ca mpfi re S'mores Ma xVG 0mg 120ml         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0PB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28HZ   Soul Va por | Gra pe-A-Berry 70VG 6mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102830S6N70V          Gra pe-A-Berry                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28HZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMVK   Soul Va por | Coconut Crea m Ma xVG 18mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1017120S18NMAXV       Coconut Crea m Ma xVG 18mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMVK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1DT   Soul Va por | Bonbon 70VG 6mg 30ml                        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102230S6N70V          Bonbon 70VG 6mg 30ml                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1DT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD6H   Soul Va por | Bomb-Ade Ma xVG 3mg 30ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100530S3NMAXV         Bomb-Ade Ma xVG 3mg 30ml                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD6H
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29N1   Soul Va por | Sweet Ta rt 70VG 6mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105430S6N70V          Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29N1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7S3   Soul Va por | Cool Pa s s i on 70VG 0mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1018120S0N70V         Cool Pa s s i on 70VG 0mg 120ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7S3
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD9H   Soul Va por | Bubbl emel on 60VG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1007120S3N60V         Bubbl emel on 60VG 3mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD9H
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29WC   Soul Va por | Iced Stra wberry Ma xVG 12mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106730S12NMAXV        Iced Stra wberry                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29WC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28MN   Soul Va por | Jus t Mi nt 70VG 12mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1031120S12N70V        Jus t Mi nt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28MN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP297M   Soul Va por | Purpl e Da ze 60VG 6mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104430S6N60V          Purpl e Da ze                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP297M
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD88   Soul Va por | Bubbl eberry 60VG 18mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1006120S18N60V        Bubbl eberry 60VG 18mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD88
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GXZ8   Soul Va por | Angel Brea th Ma xVG 12mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1000120M12NMAXV       Angel Brea th Ma xVG 12mg 120ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GXZ8
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMWZ   Soul Va por | Bonbon 60VG 12mg 30ml                       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102230S12N60V         Bonbon 60VG 12mg 30ml                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMWZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5H01S   Soul Va por | Ba na na Puddi ng 70VG 18mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1002120S18N70V        Ba na na Puddi ng 70VG 18mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5H01S
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29PB   Soul Va por | Tooty Froots 60VG 0mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1056120S0N60V         Tooty Froots                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29PB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29D2   Soul Va por | Sca redy Ca t 60VG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1048120S0N60V         Sca redy Ca t                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29D2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0R2   Soul Va por | Ca mpfi re S'mores Ma xVG 6mg 30ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100930S6NMAXV         Ca mpfi re S'mores Ma xVG 6mg 120ml         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0R2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD7X   Soul Va por | Bubbl eberry 70VG 0mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1006120S0N70V         Bubbl eberry 70VG 0mg 120ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD7X
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29B7   Soul Va por | Red Vel vet Ca ke 70VG 6mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1046120S6N70V         Red Vel vet Ca ke                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29B7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7SY   Soul Va por | Cool Wa ters 70VG 12mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1019120S12N70V        Cool Wa ters 70VG 12mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7SY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0PK   Soul Va por | Ca mpfi re S'mores 60VG 12mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1009120S12N60V        Ca mpfi re S'mores 60VG 12mg 120ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0PK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28XK   Soul Va por | Monkey Brea d 60VG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1038120S0N60V         Monkey Brea d                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28XK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HVP5   Soul Va por | Bucks Bl end Ma xVG 6mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1008120S6NMAXV        Bucks Bl end Ma xVG 6mg 120ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HVP5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29KX   Soul Va por | Sun Tea rs 70VG 3mg 30ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105330S3N70V          Sun Tea rs                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29KX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SKGS   Soul Va por | Cl a s s i c Reds 70VG 12mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1016120S12N70V        Cl a s s i c Reds 70VG 12mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SKGS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29BY   Soul Va por | Red Vel vet Ca ke 60VG 18mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104630S18N60V         Red Vel vet Ca ke                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29BY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28PN   Soul Va por | Lemon Cooki e Ma xVG 6mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1033120S6NMAXV        Lemon Cooki e                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28PN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29F9   Soul Va por | Snow Dra gon 60VG 6mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1049120S6N60V         Snow Dra gon                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29F9
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0XY   Soul Va por | Ca mpfi re S'mores Ma xVG 12mg 30ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100930S12NMAXV        Ca mpfi re S'mores Ma xVG 12mg 30ml         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0XY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y6WD   Soul Va por | Bl ueberry Ja mmy 70VG 0mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1064120S0N70V         Bl ueberry Ja mmy 70VG 0mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y6WD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD8B   Soul Va por | Bubbl eberry Ma xVG 18mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1006120S18NMAXV       Bubbl eberry Ma xVG 18mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD8B
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29S5   Soul Va por | Top Shel f Ma xVG 6mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106030S6NMAXV         Top Shel f                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29S5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GZCF   Soul Va por | Ba na na Appl e Crea m 70VG 0mg 120ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1001120S0N70V         Ba na na Appl e Crea m 70VG 0mg 120ml       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GZCF
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP298N   Soul Va por | Ra zzl ed 60VG 6mg 30ml                     i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105930S6N60V          Ra zzl ed                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP298N
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29MW   Soul Va por | Sweet Ta rt Ma xVG 0mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105430S0NMAXV         Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29MW
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2917   Soul Va por | PB&J Gra ha ms 70VG 0mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104230S0N70V          PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2917
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0PN   Soul Va por | Ca mpfi re S'mores Ma xVG 12mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1009120S12NMAXV       Ca mpfi re S'mores Ma xVG 12mg 120ml        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0PN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28W9   Soul Va por | Ma ngo Mel ons Ma xVG 6mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103630S6NMAXV         Ma ngo Mel ons                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28W9
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1FM   Soul Va por | Ca t's Pa ja ma s 70VG 0mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101130S0N70V          Ca t's Pa ja ma s 70VG 0mg 30ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1FM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMHX   Soul Va por | Coconut Crea m 70VG 0mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1017120S0N70V         Coconut Crea m 70VG 0mg 120ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMHX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GZDD   Soul Va por | Ba na na Appl e Crea m Ma xVG 12mg 30ml     i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100130S12NMAXV        Ba na na Appl e Crea m Ma xVG 12mg 30ml     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GZDD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NV   Soul Va por | The 'Bri na 60VG 0mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105530S0N60V          The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NV
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMW4   Soul Va por | Bonbon 60VG 0mg 120ml                       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1022120S0N60V         Bonbon 60VG 0mg 120ml                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMW4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1NK   Soul Va por | Ca t's Pa ja ma s 60VG 12mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101130S12N60V         Ca t's Pa ja ma s 60VG 12mg 30ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1NK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28HV   Soul Va por | Gra pe-A-Berry 60VG 3mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102830S3N60V          Gra pe-A-Berry                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28HV
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y78J   Soul Va por | Ca ndy Fi s h 60VG 12mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1061120S12N60V        Ca ndy Fi s h 60VG 12mg 120ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y78J
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0P2   Soul Va por | Bucks Bl end 60VG 12mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100830S12N60V         Bucks Bl end 60VG 12mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0P2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29RT   Soul Va por | Top Shel f 60VG 18mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1060120S18N60V        Top Shel f                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29RT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y84N   Soul Va por | Fuji Appl e Drea m 60VG 18mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1026120S18N60V        Fuji Appl e Drea m 60VG 18mg 120ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y84N
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1PS   Soul Va por | Cha i Tea 70VG 18mg 30ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105030S18N70V         Cha i Tea 70VG 18mg 30ml                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1PS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29CG   Soul Va por | Sa ngui ne Necta r 70VG 18mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1047120S18N70V        Sa ngui ne Necta r                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29CG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2901   Soul Va por | Pa i s l ey Lynn Ma xVG 12mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1040120S12NMAXV       Pa i s l ey Lynn                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2901
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7Y4   Soul Va por | Drea m Crea m 60VG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102330S3N60V          Drea m Crea m 60VG 3mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7Y4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7TH   Soul Va por | Cool Pa s s i on 60VG 18mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101830S18N60V         Cool Pa s s i on 60VG 18mg 30ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7TH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28H0   Soul Va por | Gl oom La goon 60VG 12mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102730S12N70V         Gl oom La goon                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28H0
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28VZ   Soul Va por | Ma ngo Mel ons 70VG 18mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1036120S18N70V        Ma ngo Mel ons                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28VZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29KH   Soul Va por | Sun Tea rs Ma xVG 6mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1053120S6NMAXV        Sun Tea rs                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29KH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDXP   Soul Va por | Cl a s s i c Menthol s 70VG 6mg 120ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1015120S6N70V         Cl a s s i c Menthol s 70VG 6mg 120ml       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDXP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28ZK   Soul Va por | Moon Mi l k 70VG 18mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103930S18N70V         Moon Mi l k                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28ZK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDWK   Soul Va por | Cl a s s i c Li ghts Ma xVG 3mg 120ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1014120S3NMAXV        Cl a s s i c Li ghts Ma xVG 3mg 120ml       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDWK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29H7   Soul Va por | Stra wberry Ta ffy Ma xVG 0mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1052120S0NMAXV        Stra wberry Ta ffy                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29H7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28Y6   Soul Va por | Monkey Brea d 60VG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103830S3N60V          Monkey Brea d                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28Y6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29PG   Soul Va por | Tooty Froots 70VG 3mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1056120S3N70V         Tooty Froots                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29PG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDWN   Soul Va por | Cl a s s i c Li ghts 70VG 6mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1014120S6N70V         Cl a s s i c Li ghts 70VG 6mg 120ml         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDWN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y782   Soul Va por | Bl ueberry Ja mmy 70VG 18mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106430S18N70V         Bl ueberry Ja mmy 70VG 18mg 30ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y782
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1FD   Soul Va por | Ca t's Pa ja ma s 70VG 12mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1011120S12N70V        Ca t's Pa ja ma s 70VG 12mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1FD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5H01K   Soul Va por | Ba na na Puddi ng Ma xVG 6mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1002120S6NMAXV        Ba na na Puddi ng Ma xVG 6mg 120ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5H01K
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28G6   Soul Va por | Gl oom La goon 70VG 0mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1027120S070V          Gl oom La goon                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28G6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29VD   Soul Va por | Zebra Bl ood 70VG 18mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105830S18N70V         Zebra Bl ood                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29VD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29J1   Soul Va por | Stra wberry Ta ffy 70VG 12mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105230S12N70V         Stra wberry Ta ffy                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29J1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28ZZ   Soul Va por | Pa i s l ey Lynn 60VG 12mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1040120S12N60V        Pa i s l ey Lynn                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28ZZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2926   Soul Va por | Pea ch Ri ngs Ma xVG 18mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1041120S18NMAXV       Pea ch Ri ngs                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2926
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMHP   Soul Va por | Cl a s s i c Menthol s 70VG 24mg 120ml      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1015120S24N70V        Cl a s s i c Menthol s 70VG 24mg 120ml      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMHP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29ST   Soul Va por | Turki s h Shi s ha Ma xVG 12mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1057120S12NMAXV       Turki s h Shi s ha                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29ST
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28ZV   Soul Va por | Pa i s l ey Lynn Ma xVG 3mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1040120S3NMAXV        Pa i s l ey Lynn                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28ZV
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP299N   Soul Va por | Red Li cori ce Ma xVG 3mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104530S3NMAXV         Red Li cori ce                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP299N
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0P4   Soul Va por | Bucks Bl end Ma xVG 12mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100830S12NMAXV        Bucks Bl end Ma xVG 12mg 30ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0P4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP291C   Soul Va por | PB&J Gra ha ms Ma xVG 3mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104230S3NMAXV         PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP291C
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD2W   Soul Va por | Bl ueberry Chees eca ke Ma xVG 12mg 30ml    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100430S12NMAXV        Bl ueberry Chees eca ke Ma xVG 12mg 30ml    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD2W
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDX9   Soul Va por | Cl a s s i c Li ghts Ma xVG 12mg 30ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101430S12NMAXV        Cl a s s i c Li ghts Ma xVG 12mg 30ml       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDX9
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP293K   Soul Va por | Pea nut Butter Pi e 60VG 12mg 30ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106530S12N60V         Pea nut Butter Pi e                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP293K
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NB   Soul Va por | The 'Bri na 70VG 0mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1055120S070V          The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7V7   Soul Va por | Cotton Ca ndy 60VG 3mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1020120S3N60V         Cotton Ca ndy 60VG 3mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7V7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NC   Soul Va por | The 'Bri na Ma xVG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1055120S0NMAXV        The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29VR   Soul Va por | Iced Stra wberry 70VG 6mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1067120S6N70V         Iced Stra wberry                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29VR
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD9W   Soul Va por | Bubbl emel on Ma xVG 18mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100730S18NMAXV        Bubbl emel on Ma xVG 18mg 30ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD9W
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28RT   Soul Va por | Lol a Cherry Col a Ma xVG 12mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1034120S12NMAXV       Lol a Cherry Col a                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28RT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29MB   Soul Va por | Sweet Ta rt Ma xVG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1054120S0NMAXV        Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29MB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GXZH   Soul Va por | Angel Brea th 60VG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100030S3N60V          Angel Brea th 60VG 3mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GXZH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5JT9T   Soul Va por | Cl a s s i c Crus h 70VG 3mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101330S3N70V          Cl a s s i c Crus h 70VG 3mg 30ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5JT9T
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28KC   Soul Va por | Hot Sa uce 60VG 3mg 120ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1030120S3N60V         Hot Sa uce                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28KC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29FP   Soul Va por | Snow Dra gon Ma xVG 0mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104930S0NMAXV         Snow Dra gon                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29FP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29C8   Soul Va por | Sa ngui ne Necta r 70VG 6mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1047120S6N70V         Sa ngui ne Necta r                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29C8
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2941   Soul Va por | Peca n Pi e 70VG 6mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1066120S6N70V         Peca n Pi e                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2941
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HCRR   Soul Va por | Bl ueberry Chees eca ke Ma xVG 6mg 120ml    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1004120S6NMAXV        Bl ueberry Chees eca ke Ma xVG 6mg 120ml    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HCRR
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP295P   Soul Va por | Pi nea ppl e Ri ngs 70VG 12mg 30ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106330S12N70V         Pi nea ppl e Ri ngs                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP295P
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDYH   Soul Va por | Cl a s s i c Reds 70VG 0mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1016120S0N70V         Cl a s s i c Reds 70VG 0mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDYH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28M2   Soul Va por | Hot Sa uce Ma xVG 6mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103030S6NMAXV         Hot Sa uce                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28M2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28K1   Soul Va por | Honey Pot Ma xVG 6mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102930S6NMAXV         Honey Pot                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28K1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GXZD   Soul Va por | Angel Brea th 60VG 0mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100030S0N60V          Angel Brea th 60VG 0mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GXZD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7Y7   Soul Va por | Drea m Crea m 60VG 6mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102330S6N60V          Drea m Crea m 60VG 6mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7Y7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29BN   Soul Va por | Red Vel vet Ca ke 70VG 3mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104630S3N70V          Red Vel vet Ca ke                           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29BN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1CW   Soul Va por | Ca ra cci no 70VG 12mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101030S12N70V         Ca ra cci no 70VG 12mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1CW
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDXY   Soul Va por | Cl a s s i c Menthol s Ma xVG 18mg 120ml    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1015120S18NMAXV       Cl a s s i c Menthol s Ma xVG 18mg 120ml    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDXY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29J4   Soul Va por | Stra wberry Ta ffy 70VG 18mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105230S18N70V         Stra wberry Ta ffy                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29J4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0PS   Soul Va por | Ca mpfi re S'mores Ma xVG 18mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1009120S18NMAXV       Ca mpfi re S'mores Ma xVG 18mg 120ml        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0PS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2905   Soul Va por | Pa i s l ey Lynn 60VG 0mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104030S0N60V          Pa i s l ey Lynn                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2905
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GZCX   Soul Va por | Ba na na Appl e Crea m Ma xVG 12mg 120ml    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1001120S12NMAXV       Ba na na Appl e Crea m Ma xVG 12mg 120ml    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GZCX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMHS   Soul Va por | Cl a s s i c Menthol s 60VG 24mg 30ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101530S24N60V         Cl a s s i c Menthol s 60VG 24mg 30ml       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMHS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7TD   Soul Va por | Cool Pa s s i on 60VG 12mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101830S12N60V         Cool Pa s s i on 60VG 12mg 30ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7TD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NT   Soul Va por | The 'Bri na Ma xVG 18mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1055120S18NMAXV       The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28VS   Soul Va por | Ma ngo Mel ons 70VG 6mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1036120S6N70V         Ma ngo Mel ons                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28VS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GZCZ   Soul Va por | Ba na na Appl e Crea m 70VG 18mg 120ml      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1001120S18N70V        Ba na na Appl e Crea m 70VG 18mg 120ml      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GZCZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29SC   Soul Va por | Top Shel f Ma xVG 18mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106030S18NMAXV        Top Shel f                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29SC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1DD   Soul Va por | Bonbon Ma xVG 12mg 120ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1022120S12NMAXV       Bonbon Ma xVG 12mg 120ml                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1DD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HVYH   Soul Va por | Bucks Bl end 60VG 18mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1008120S18N60V        Bucks Bl end 60VG 18mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HVYH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28MG   Soul Va por | Jus t Mi nt Ma xVG 3mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1031120S3NMAXV        Jus t Mi nt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28MG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0PG   Soul Va por | Ca mpfi re S'mores 60VG 6mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1009120S6N60V         Ca mpfi re S'mores 60VG 6mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0PG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP298D   Soul Va por | Ra zzl ed Ma xVG 18mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1059120S18NMAXV       Ra zzl ed                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP298D
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2958   Soul Va por | Pi nea ppl e Ri ngs 70VG 18mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1063120S18N70V        Pi nea ppl e Ri ngs                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2958
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29SR   Soul Va por | Turki s h Shi s ha 60VG 12mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1057120S12N60V        Turki s h Shi s ha                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29SR
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7VR   Soul Va por | Cotton Ca ndy Ma xVG 0mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102030S0NMAXV         Cotton Ca ndy Ma xVG 0mg 30ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7VR
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HCPJ   Soul Va por | Bl ood Dra gon 70VG 3mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1003120S3N70V         Bl ood Dra gon 70VG 3mg 120ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HCPJ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMHC   Soul Va por | Cl a s s i c Reds 70VG 24mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101630S24N70V         Cl a s s i c Reds 70VG 24mg 30ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMHC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2946   Soul Va por | Peca n Pi e 60VG 18mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1066120S18N60V        Peca n Pi e                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2946
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28ZJ   Soul Va por | Moon Mi l k 60VG 18mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103930S18N60V         Moon Mi l k                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28ZJ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7XS   Soul Va por | Drea m Crea m 70VG 6mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1023120S6N70V         Drea m Crea m 70VG 6mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7XS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD2T   Soul Va por | Bl ueberry Chees eca ke 60VG 12mg 30ml      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100430S12N60V         Bl ueberry Chees eca ke 60VG 12mg 30ml      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD2T
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD3B   Soul Va por | Bomb-Ade 70VG 12mg 120ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1005120S12N70V        Bomb-Ade 70VG 12mg 120ml                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD3B
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28H6   Soul Va por | Gra pe-A-Berry 60VG 0mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1028120S0N60V         Gra pe-A-Berry                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28H6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28SM   Soul Va por | Bl ueberry Pa nca kes Ma xVG 3mg 120ml      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1062120S3NMAXV        Bl ueberry Pa nca kes                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28SM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29VT   Soul Va por | Iced Stra wberry 60VG 12mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1067120S12N60V        Iced Stra wberry                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29VT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP297S   Soul Va por | Purpl e Da ze 70VG 12mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104430S12N70V         Purpl e Da ze                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP297S
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP294C   Soul Va por | Peca n Pi e Ma xVG 0mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106630S0NMAXV         Peca n Pi e                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP294C
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28ZH   Soul Va por | Moon Mi l k Ma xVG 12mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103930S12NMAXV        Moon Mi l k                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28ZH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7XK   Soul Va por | Drea m Crea m Ma xVG 0mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1023120S0NMAXV        Drea m Crea m Ma xVG 0mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7XK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28K6   Soul Va por | Honey Pot 70VG 18mg 30ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102930S18N70V         Honey Pot                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28K6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1RC   Soul Va por | Cherry Chees eca ke 70VG 0mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101230S0N70V          Cherry Chees eca ke 70VG 0mg 30ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1RC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD8Z   Soul Va por | Bubbl emel on Ma xVG 0mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1007120S0NMAXV        Bubbl emel on Ma xVG 0mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD8Z
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP296X   Soul Va por | Purpl e Da ze 60VG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1044120S0N60V         Purpl e Da ze                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP296X
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28Z7   Soul Va por | Moon Mi l k 60VG 3mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103930S3N60V          Moon Mi l k                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28Z7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29MS   Soul Va por | Sweet Ta rt Ma xVG 18mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1054120S18NMAXV       Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29MS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GXZ2   Soul Va por | Angel Brea th Ma xVG 3mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1000120M3NMAXV        Angel Brea th Ma xVG 3mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GXZ2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMVW   Soul Va por | Coconut Crea m 70VG 6mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101730S6N70V          Coconut Crea m 70VG 6mg 30ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMVW
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD39   Soul Va por | Bomb-Ade 60VG 12mg 120ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1005120S12N60V        Bomb-Ade 60VG 12mg 120ml                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD39
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29MM   Soul Va por | Sweet Ta rt 70VG 12mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1054120S12N70V        Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29MM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28ZB   Soul Va por | Moon Mi l k 60VG 6mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103930S6N60V          Moon Mi l k                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28ZB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5JTB8   Soul Va por | Cl a s s i c Crus h 70VG 18mg 30ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101330S18N70V         Cl a s s i c Crus h 70VG 18mg 30ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5JTB8
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29V7   Soul Va por | Zebra Bl ood Ma xVG 6mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105830S6NMAXV         Zebra Bl ood                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29V7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GXZ7   Soul Va por | Angel Brea th 70VG 12mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1000120S12N70V        Angel Brea th 70VG 12mg 120ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GXZ7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2961   Soul Va por | Pomedra gon Ma xVG 3mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1043120S3NMAXV        Pomedra gon                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2961
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP298G   Soul Va por | Ra zzl ed 70VG 0mg 30ml                     i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105930S0N70V          Ra zzl ed                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP298G
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7YD   Soul Va por | Drea m Crea m Ma xVG 12mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102330S12NMAXV        Drea m Crea m Ma xVG 12mg 30ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7YD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y80F   Soul Va por | Endl es s Summer 60VG 3mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102530S3N60V          Endl es s Summer 60VG 0mg 30ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y80F
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP293H   Soul Va por | Pea nut Butter Pi e 70VG 6mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106530S6N70V          Pea nut Butter Pi e                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP293H
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HCRD   Soul Va por | Bl ood Dra gon Ma xVG 18mg 30ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100330S18NMAXV        Bl ood Dra gon Ma xVG 18mg 30ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HCRD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2971   Soul Va por | Purpl e Da ze 70VG 3mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1044120S3N70V         Purpl e Da ze                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2971
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28HN   Soul Va por | Gra pe-A-Berry 70VG 18mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1028120S18N70V        Gra pe-A-Berry                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28HN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1F9   Soul Va por | Ca t's Pa ja ma s 70VG 6mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1011120S6N70V         Ca t's Pa ja ma s 70VG 6mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1F9
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP290S   Soul Va por | PB&J Gra ha ms Ma xVG 0mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1042120S0NMAXV        PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP290S
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7XJ   Soul Va por | Drea m Crea m 70VG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1023120S0N70V         Drea m Crea m 70VG 0mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7XJ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28KM   Soul Va por | Hot Sa uce 70VG 12mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1030120S12N70V        Hot Sa uce                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28KM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29C4   Soul Va por | Sa ngui ne Necta r 60VG 3mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1047120S3N60V         Sa ngui ne Necta r                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29C4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1D3   Soul Va por | Bonbon Ma xVG 0mg 120ml                     i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1022120S0NMAXV        Bonbon Ma xVG 0mg 120ml                     2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1D3
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29M4   Soul Va por | Sun Tea rs Ma xVG 12mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105330S12NMAXV        Sun Tea rs                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29M4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2972   Soul Va por | Purpl e Da ze Ma xVG 3mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1044120S3NMAXV        Purpl e Da ze                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2972
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1F0   Soul Va por | Bonbon 70VG 18mg 30ml                       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102230S18N70V         Bonbon 70VG 18mg 30ml                       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1F0
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28TY   Soul Va por | Lovers Mi l k 70VG 18mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1035120S18N70V        Lovers Mi l k                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28TY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29SJ   Soul Va por | Turki s h Shi s ha 70VG 3mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1057120S3N70V         Turki s h Shi s ha                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29SJ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7ZS   Soul Va por | Endl es s Summer 60VG 3mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1025120S3N60V         Endl es s Summer 60VG 3mg 120ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7ZS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2918   Soul Va por | PB&J Gra ha ms Ma xVG 0mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104230S0NMAXV         PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2918
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28G7   Soul Va por | Gl oom La goon Ma xVG 0mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1027120S0NMAXV        Gl oom La goon                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28G7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1PG   Soul Va por | Cha i Tea Ma xVG 3mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105030S3NMAXV         Cha i Tea Ma xVG 3mg 30ml                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1PG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5H016   Soul Va por | Ba na na Puddi ng 70VG 0mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1002120S0N70V         Ba na na Puddi ng 70VG 0mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5H016
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1DB   Soul Va por | Bonbon 60VG 12mg 120ml                      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1022120S12N60V        Bonbon 60VG 12mg 120ml                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1DB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28N5   Soul Va por | Jus t Mi nt 70VG 12mg 30ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103130S12N70V         Jus t Mi nt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28N5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7XX   Soul Va por | Drea m Crea m Ma xVG 12mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1023120S12NMAXV       Drea m Crea m Ma xVG 12mg 120ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7XX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP294F   Soul Va por | Peca n Pi e 70VG 3mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106630S3N70V          Peca n Pi e                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP294F
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29T8   Soul Va por | Turki s h Shi s ha 70VG 12mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105730S12N70V         Turki s h Shi s ha                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29T8
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NM   Soul Va por | The 'Bri na 60VG 12mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1055120S12N60V        The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28VP   Soul Va por | Ma ngo Mel ons Ma xVG 3mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1036120S3NMAXV        Ma ngo Mel ons                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28VP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP295X   Soul Va por | Pomedra gon 70VG 0mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1043120S070V          Pomedra gon                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP295X
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7X1   Soul Va por | Cri s py Ca kes 70VG 0mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102130S0N70V          Cri s py Ca kes 70VG 0mg 30ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7X1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP297D   Soul Va por | Purpl e Da ze 60VG 0mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104430S0N60V          Purpl e Da ze                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP297D
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29VJ   Soul Va por | Iced Stra wberry Ma xVG 0mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1067120S0NMAXV        Iced Stra wberry                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29VJ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP292W   Soul Va por | Pea nut Butter Pi e 60VG 3mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1065120S3N60V         Pea nut Butter Pi e                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP292W
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7W7   Soul Va por | Cri s py Ca kes Ma xVG 0mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1021120S0NMAXV        Cri s py Ca kes Ma xVG 0mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7W7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28Z2   Soul Va por | Moon Mi l k 70VG 18mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1039120S18N70V        Moon Mi l k                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28Z2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28JT   Soul Va por | Honey Pot 70VG 0mg 30ml                     i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102930S0N70V          Honey Pot                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28JT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD9F   Soul Va por | Bubbl emel on 70VG 0mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100730S0N70V          Bubbl emel on 70VG 0mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD9F
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y790   Soul Va por | Ca ndy Fi s h 70VG 6mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106130S6N70V          Ca ndy Fi s h 70VG 6mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y790
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29F8   Soul Va por | Snow Dra gon Ma xVG 3mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1049120S3NMAXV        Snow Dra gon                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29F8
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29RN   Soul Va por | Top Shel f Ma xVG 6mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1060120S6NMAXV        Top Shel f                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29RN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD91   Soul Va por | Bubbl emel on 70VG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1007120S3N70V         Bubbl emel on 70VG 3mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD91
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD80   Soul Va por | Bubbl eberry 70VG 3mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1006120S3N70V         Bubbl eberry 70VG 3mg 120ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD80
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP299G   Soul Va por | Red Li cori ce 60VG 0mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104530S0N60V          Red Li cori ce                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP299G
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP291R   Soul Va por | Pea ch Ri ngs 60VG 0mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1041120S0N60V         Pea ch Ri ngs                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP291R
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29NH   Soul Va por | The 'Bri na 60VG 6mg 120ml                  i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1055120S6N60V         The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29NH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28KB   Soul Va por | Hot Sa uce Ma xVG 0mg 120ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1030120S0NMAXV        Hot Sa uce                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28KB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y79N   Soul Va por | Cool Pa s s i on Ma xVG 12mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1018120S12NMAXV       Cool Pa s s i on Ma xVG 12mg 120ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y79N
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0P1   Soul Va por | Bucks Bl end Ma xVG 6mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100830S6NMAXV         Bucks Bl end Ma xVG 6mg 30ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0P1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29G7   Soul Va por | Stra wberry Shortca ke 60VG 3mg 120ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1051120S3N60V         Stra wberry Shortca ke                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29G7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1PV   Soul Va por | Cherry Chees eca ke 60VG 0mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1012120S0N60V         Cherry Chees eca ke 60VG 0mg 120ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1PV
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7YH   Soul Va por | Drea m Crea m Ma xVG 18mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102330S18NMAXV        Drea m Crea m Ma xVG 18mg 30ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7YH
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29DB   Soul Va por | Sca redy Ca t Ma xVG 6mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1048120S6NMAXV        Sca redy Ca t                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29DB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5JWGD   Soul Va por | Cl a s s i c Crus h 60VG 24mg 30ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101330S24N60V         Cl a s s i c Crus h 60VG 24mg 30ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5JWGD
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y80V   Soul Va por | Endl es s Summer Ma xVG 6mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102530S6NMAXV         Endl es s Summer Ma xVG 6mg 30ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y80V
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29H2   Soul Va por | Stra wberry Shortca ke 60VG 18mg 30ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105130S18N60V         Stra wberry Shortca ke                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29H2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28H8   Soul Va por | Gra pe-A-Berry Ma xVG 0mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1028120S0NMAXV        Gra pe-A-Berry                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28H8
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29N2   Soul Va por | Sweet Ta rt Ma xVG 6mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105430S6NMAXV         Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29N2
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29V1   Soul Va por | Zebra Bl ood Ma xVG 0mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105830S0NMAXV         Zebra Bl ood                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29V1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0PJ   Soul Va por | Ca mpfi re S'mores Ma xVG 6mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1009120S6NMAXV        Ca mpfi re S'mores Ma xVG 6mg 120ml         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0PJ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29CW   Soul Va por | Sa ngui ne Necta r 60VG 12mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104730S12N60V         Sa ngui ne Necta r                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29CW
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7VX   Soul Va por | Cotton Ca ndy 70VG 6mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102030S6N70V          Cotton Ca ndy 70VG 6mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7VX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29TY   Soul Va por | Zebra Bl ood Ma xVG 18mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1058120S18NMAXV       Zebra Bl ood                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29TY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1SB   Soul Va por | Cl a s s i c Crus h Ma xVG 18mg 120ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1013120S18NMAXV       Cl a s s i c Crus h Ma xVG 18mg 120ml       2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1SB
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5H01J   Soul Va por | Ba na na Puddi ng 70VG 6mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1002120S6N70V         Ba na na Puddi ng 70VG 6mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5H01J
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28RS   Soul Va por | Lol a Cherry Col a 70VG 12mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1034120S12N70V        Lol a Cherry Col a                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28RS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5GXZM   Soul Va por | Angel Brea th 60VG 6mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100030S6N60V          Angel Brea th 60VG 6mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5GXZM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7SJ   Soul Va por | Cool Pa s s i on Ma xVG 18mg 120ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1018120S18NMAXV       Cool Pa s s i on Ma xVG 18mg 120ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7SJ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29HF   Soul Va por | Stra wberry Ta ffy Ma xVG 6mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1052120S6NMAXV        Stra wberry Ta ffy                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29HF
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMH5   Soul Va por | Cl a s s i c Reds 70VG 12mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101630S12N70V         Cl a s s i c Reds 70VG 12mg 30ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMH5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29DY   Soul Va por | Sca redy Ca t 70VG 12mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104830S12N70V         Sca redy Ca t                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29DY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7T5   Soul Va por | Cool Pa s s i on 60VG 3mg 30ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101830S3N60V          Cool Pa s s i on 60VG 3mg 30ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7T5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1S5   Soul Va por | Cl a s s i c Crus h 60VG 12mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1013120S12N60V        Cl a s s i c Crus h 60VG 12mg 120ml         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1S5
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29GC   Soul Va por | Stra wberry Shortca ke 70VG 6mg 120ml       i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1051120S6N70V         Stra wberry Shortca ke                      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29GC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y6WR   Soul Va por | Bl ueberry Ja mmy 60VG 3mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1064120S3N60V         Bl ueberry Ja mmy 60VG 3mg 120ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y6WR
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1R8   Soul Va por | Cherry Chees eca ke 70VG 18mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1012120S18N70V        Cherry Chees eca ke 70VG 18mg 120ml         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1R8
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1RK   Soul Va por | Cherry Chees eca ke 70VG 6mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101230S6N70V          Cherry Chees eca ke 70VG 6mg 30ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1RK
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29P1   Soul Va por | The 'Bri na 60VG 6mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105530S6N60V          The 'Bri na                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29P1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29J0   Soul Va por | Stra wberry Ta ffy 60VG 12mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105230S12N60V         Stra wberry Ta ffy                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29J0
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5SMWN   Soul Va por | Bonbon 60VG 0mg 30ml                        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102230S0N60V          Bonbon 60VG 0mg 30ml                        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5SMWN
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29MZ   Soul Va por | Sweet Ta rt Ma xVG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105430S3NMAXV         Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29MZ
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7W9   Soul Va por | Cri s py Ca kes 70VG 3mg 120ml              i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1021120S3N70V         Cri s py Ca kes 70VG 3mg 120ml              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7W9
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y788   Soul Va por | Ca ndy Fi s h 70VG 3mg 120ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1061120S3N70V         Ca ndy Fi s h 70VG 3mg 120ml                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y788
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29FY   Soul Va por | Snow Dra gon 60VG 12mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104930S12N60V         Snow Dra gon                                2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29FY
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0Y1   Soul Va por | Ca mpfi re S'mores Ma xVG 18mg 30ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100930S18NMAXV        Ca mpfi re S'mores Ma xVG 18mg 30ml         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0Y1
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28ZS   Soul Va por | Pa i s l ey Lynn 60VG 3mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1040120S3N60V         Pa i s l ey Lynn                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28ZS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y77Y   Soul Va por | Bl ueberry Ja mmy Ma xVG 12mg 30ml          i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106430S12NMAXV        Bl ueberry Ja mmy Ma xVG 12mg 30ml          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y77Y
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP293C   Soul Va por | Pea nut Butter Pi e 60VG 3mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106530S3N60V          Pea nut Butter Pi e                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP293C
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28Y4   Soul Va por | Monkey Brea d 70VG 0mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #103830S0N70V          Monkey Brea d                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28Y4
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29MT   Soul Va por | Sweet Ta rt 60VG 0mg 30ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105430S0N60V          Sweet Ta rt                                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29MT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HCRP   Soul Va por | Bl ueberry Chees eca ke 69VG 6mg 120ml      i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1004120S6N69V         Bl ueberry Chees eca ke 69VG 6mg 120ml      2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HCRP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7S6   Soul Va por | Cool Pa s s i on 70VG 3mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1018120S3N70V         Cool Pa s s i on 70VG 3mg 120ml             2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7S6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP298C   Soul Va por | Ra zzl ed 70VG 18mg 120ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1059120S18N70V        Ra zzl ed                                   2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP298C
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2915   Soul Va por | PB&J Gra ha ms Ma xVG 18mg 120ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1042120S18NMAXV       PB&J Gra ha ms                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2915
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDX6   Soul Va por | Cl a s s i c Li ghts Ma xVG 6mg 30ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #101430S6NMAXV         Cl a s s i c Li ghts Ma xVG 6mg 30ml        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDX6
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29SG   Soul Va por | Turki s h Shi s ha Ma xVG 0mg 120ml         i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1057120S0NMAXV        Turki s h Shi s ha                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29SG
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29K7   Soul Va por | Sun Tea rs 60VG 0mg 120ml                   i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1053120S0N60V         Sun Tea rs                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29K7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y78W   Soul Va por | Ca ndy Fi s h 60VG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106130S3N60V          Ca ndy Fi s h 60VG 3mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y78W
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP28GX   Soul Va por | Gl oom La goon 60VG 6mg 30ml                i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102730S6N70V          Gl oom La goon                              2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP28GX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J0P7   Soul Va por | Bucks Bl end Ma xVG 18mg 30ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #100830S18NMAXV        Bucks Bl end Ma xVG 18mg 30ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J0P7
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29VM   Soul Va por | Iced Stra wberry 70VG 3mg 120ml             i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1067120S3N70V         Iced Stra wberry                            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29VM
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y78X   Soul Va por | Ca ndy Fi s h 70VG 3mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106130S3N70V          Ca ndy Fi s h 70VG 3mg 30ml                 2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y78X
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP2938   Soul Va por | Pea nut Butter Pi e 60VG 0mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106530S0N60V          Pea nut Butter Pi e                         2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP2938
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y7XC   Soul Va por | Cri s py Ca kes Ma xVG 12mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #102130S12NMAXV        Cri s py Ca kes Ma xVG 12mg 30ml            2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y7XC
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29DT   Soul Va por | Sca redy Ca t 60VG 6mg 30ml                 i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104830S6N60V          Sca redy Ca t                               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29DT
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y730   Soul Va por | Bl ueberry Ja mmy 60VG 18mg 120ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1064120S18N60V        Bl ueberry Ja mmy 60VG 18mg 120ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y730
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29RX   Soul Va por | Top Shel f 60VG 0mg 30ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106030S0N60V          Top Shel f                                  2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29RX
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5Y777   Soul Va por | Bl ueberry Ja mmy Ma xVG 3mg 30ml           i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #106430S3NMAXV         Bl ueberry Ja mmy Ma xVG 3mg 30ml           2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5Y777
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBDP29CP   Soul Va por | Sa ngui ne Necta r 70VG 3mg 30ml            i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #104730S3N70V          Sa ngui ne Necta r                          2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBDP29CP
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5HD9B   Soul Va por | Bubbl emel on 70VG 18mg 120ml               i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1007120S18N70V        Bubbl emel on 70VG 18mg 120ml               2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5HD9B
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5RDWS   Soul Va por | Cl a s s i c Li ghts 70VG 12mg 120ml        i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #1014120S12N70V        Cl a s s i c Li ghts 70VG 12mg 120ml        2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5RDWS
RG7647   Soul Va por   604 Thorn Street FRNT,,   Pri nceton,WV,   24740,US i na cti ve   3014759057 Newl y Deemed   TPBD5J1PM   Soul Va por | Cha i Tea 60VG 12mg 30ml                    i na cti ve   El ectroni c Ni coti ne Del i very Sys tem or Pa rt     E-Li qui d     Cons umer Us e         #105030S12N60V         Cha i Tea 60VG 12mg 30ml                    2021-09-20T18:30:37.000Z   s oul va porejui ce@gma i l .com   Yes   2021-09-20T18:26:51.000Z   Out of bus i nes s   TPBD5J1PM
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                A-3 Ibarra-Pratt Exhibit
1/11/23, 9:12 AM                          Case 1:22-cv-00458               Document 11-1             Filed 02/14/23
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   Soul Vapor                                                                                                                                                        Edit




         Overview                                                             Establishment Status &                                          Verify          Actions

         Date Created                 09/20/2018
                                                                              Details
                                      11:39 PM By
                                      soulvaporejuice@                              Inactive
                                      gmail.com
                                                                              Date of Inactivation                                 09/20/2021
         Date Last                    09/21/2018
         Verified                                                             Reason for Inactivation                              Out of business

                                                                              FEI                                                  3014759057
         Last Edited                  11/29/2022
                                      12:32 PM By
                                                                              OEI Email Sent Date
                                      Brandi.Sutton@fd
                                      a.hhs.gov                               Establishment Address                                604 Thorn Street FRNT, Princeton, WV, 24740,
         Last Submitted/                                                                                                           US
         Certified
                                                                              Operations                                           Labeling, Manufacturing, Packaging, Storing




         Inspections                               Edit
                                                                              Products                                                                                  View
         Inspection Type              Vape Shop

         Inspection Hold                                                        Product Category, Intent of Use                                                Total Products
         Scheduled                                                              Electronic Nicotine Delivery System or Part, Consumer Use                                2,141
         Inspection

         Projected
         Inspection

         Last Inspection              03/25/2022

                                                                              Contacts (1)

                                                                                                                                                               Primary Contact
                                                                              Aurelius Jeffrey
         FDA Comments                                 Add
                                                                              soulvaporejuice@gmail.com
         https://soulvaporejuice.com                                          1 1 3043206019 (work)

         11/02/2021 09:51 AM by
         Carolyn.Nguyen@fda.hhs.gov


                                                                              Owner Information
                                                                              Soul Vapor
         Industry                                                             604 Thorn Street, Princeton, WV 24740, US
         Comments                                                             1 Point(s) of Contact

         No records to show


https://trlm-ng-internal.fda.gov/internal/reghome/RG7647/establishment/209bb728ea53c6dd70f294ce21efe60d                                                                           1/2
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                                                                              Operator Information
                                                                              Aurelius Jeffrey
                                                                              604 Thorn St, Princeton, WV 24740, US
                                                                              Sole Proprietor
                                                                              0 Point(s) of Contact




https://trlm-ng-internal.fda.gov/internal/reghome/RG7647/establishment/209bb728ea53c6dd70f294ce21efe60d                                                  2/2
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                       EXHIBIT A
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   Change Log on Registration
             Search

       Search for Establishments                                                                                           Clear         Filters (0)                 Search




   Establishments                                                        Products                                              Material Files




                                                                                              1 to 1 of 1 Establishments     Jump to Page 1       Go     Show 10            1




                                                                                              1 to 1 of 1 Establishments     Jump to Page 1       Go     Show 10            1




            Reason                                                                                Out of business                               soulvaporejuice@gmail.com

            Active/Inactive Date                                                                  2021-09-20T18:26:51.000Z                      soulvaporejuice@gmail.com

            Establishment Status                                active                            inactive                                      soulvaporejuice@gmail.com




            Establishment Created                                                                                                               soulvaporejuice@gmail.com




https://trlm-ng-internal.fda.gov/internal/reghome/RG7647/changelog                                                                                                              1/1
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                A-5 Ibarra-Pratt Exhibit
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         Elenita Ibarra-Pratt Declaration
                A-9 Ibarra-Pratt Exhibit
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May 21, 2021


VIA UPS and Electronic Mail

Soul Vapor
Attn: Aurelius Jeffrey
604 Thorn St.
Princeton, WV 24740
soulvaporejuice@gmail.com
aureliusjeffrey@yahoo.com

                                            WARNING LETTER

Dear Aurelius Jeffery:

The Center for Tobacco Products of the U.S. Food and Drug Administration (FDA) recently reviewed the
website https://www.soulvaporejuice.com and determined that the e-liquid products listed there are
manufactured and offered for sale or distribution to customers in the United States.

Under section 201(rr) of the Federal Food, Drug, and Cosmetic Act (FD&C Act) (21 U.S.C. § 321(rr)), these
products are tobacco products because they are made or derived from tobacco and intended for human
consumption. Certain tobacco products, including e-liquids, are subject to FDA jurisdiction under section
901(b) of the FD&C Act (21 U.S.C. § 387a(b)) and 21 C.F.R. § 1100.1. Therefore, e-liquids are required to
be in compliance with the requirements in the FD&C Act.

Please be aware that, effective August 8, 2016, FDA deemed additional products meeting the definition of a
tobacco product, except accessories to these newly deemed products, to be subject to regulation under the
FD&C Act. These products include, but are not limited to, ENDS (including e-cigarettes and e-liquids),
cigars, and pipe tobacco. See Final Rule, Deeming Tobacco Products To Be Subject to the Federal Food,
Drug, and Cosmetic Act, as Amended by the Family Smoking Prevention and Tobacco Control Act;
Restrictions on the Sale and Distribution of Tobacco Products and Required Warning Statements for
Tobacco Products, 81 Fed. Reg. 28,974 (May 10, 2016), available at https://federalregister.gov/a/2016-
10685.

Generally, to be legally marketed in the United States, the FD&C Act requires “new tobacco products” to
have a premarket authorization order in effect. A “new tobacco product” is any tobacco product that was not
commercially marketed in the United States as of February 15, 2007, or any modified tobacco product that
was commercially marketed after February 15, 2007 (section 910(a) of the FD&C Act; 21 U.S.C. § 387j(a)).
Generally, a marketing authorization order under section 910(c)(1)(A)(i) of the FD&C Act (21 U.S.C. §
387j(c)(1)(A)(i)) is required for a new tobacco product unless (1) the manufacturer of the product submitted a
report under section 905(j) of the FD&C Act (21 U.S.C. § 387e(j)) and FDA issues an order finding the
product substantially equivalent to a predicate tobacco product (section 910(a)(2)(A) of the FD&C Act) or (2)
the manufacturer submitted a report under section 905(j)(1)(A)(ii) of the FD&C Act (21 U.S.C. §
387e(j)(1)(A)(ii)) and all modifications are covered by exemptions from the requirements of substantial
equivalence granted by FDA under section 905(j)(3) of the FD&C Act (21 U.S.C. § 387e(j)(3)).




                                                                                      U.S. Food & Drug Administration
                                                                                          Center for Tobacco Products
                                                                                       10903 New Hampshire Avenue
                                                                                              Silver Spring, MD 20993
                                                                                                         www.fda.gov
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Page 2 – Soul Vapor, https://www.soulvaporejuice.com

New Tobacco Products Without Required Marketing Authorization are Adulterated and Misbranded

Our review of https://www.soulvaporejuice.com revealed that you manufacture and offer for sale or
distribution to customers in the United States e-liquid products without a marketing authorization order
including: Soul Vapor Honey Pot and Soul Vapor Peach Rings.

The e-liquid listed above are new tobacco products because they were not commercially marketed in the
United States as of February 15, 2007. These products do not have an FDA marketing authorization order in
effect under section 910(c)(1)(A)(i) of the FD&C Act and are not otherwise exempt from the marketing
authorization requirement. Therefore, these products are adulterated under section 902(6)(A) of the FD&C
Act. In addition, these products are misbranded under section 903(a)(6) of the FD&C Act because a notice
or other information respecting these products was not provided as required by section 905(j) of the FD&C
Act.

Conclusion and Requested Actions

Your firm is a registered manufacturer with over 2,100 products listed with FDA. It is your responsibility
to ensure that your tobacco products and all related labeling and/or advertising on this website, on any
other websites (including e-commerce, social networking, or search engine websites), in any other
media in which you advertise, and in any retail establishments comply with each applicable provision of
the FD&C Act and FDA’s implementing regulations. Failure to address any violations of the FD&C Act,
21 U.S.C. § 301 et seq., Chapter IX, relating to tobacco products including the tobacco regulations in 21
C.F.R. Parts 1140, 1141, and 1143, may lead to regulatory action, including, but not limited to, civil
money penalties, seizure, and/or injunction. However, this Warning Letter does not constitute “written
notice” for purposes of section 303(f)(9)(B)(i)(II) of the FD&C Act. Please note that tobacco products
offered for import into the United States that appear to be adulterated or misbranded may be detained
or refused admission.

The violations discussed in this letter do not necessarily constitute an exhaustive list. You should address
any violations that are referenced above, as well as violations that are the same as or similar to those stated
above, and promptly take any necessary actions to bring your tobacco products into compliance with the
FD&C Act.

Please submit a written response to this letter within 15 working days from the date of receipt describing
your actions to address any violations and bring your products into compliance, including the dates on
which you discontinued the violative labeling, advertising, sale, and/or distribution of these tobacco
products and your plan for maintaining compliance with the FD&C Act. If you believe that your products
are not in violation of the FD&C Act, include your reasoning and any supporting information for our
consideration. This letter notifies you of our findings and provides you with an opportunity to address
them. You can find the FD&C Act through links on FDA’s homepage at http://www.fda.gov.

Please note your reference number, RW2101604, in your response and direct your response via email at
CTPCompliance@fda.hhs.gov and to the following address:

DPAL-WL Response, Office of Compliance and Enforcement
FDA Center for Tobacco Products
c/o Document Control Center
Building 71, Room G335
10903 New Hampshire Avenue
Silver Spring, MD 20993-0002
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Page 3 – Soul Vapor, https://www.soulvaporejuice.com

If you have any questions about the content of this letter, please contact Ele Ibarra-Pratt at (301) 796-9235
or via email at CTPCompliance@fda.hhs.gov.


                                                                  Sincerely,




                                                                  Ann Simoneau, J.D.
                                                                  Director
                                                                  Office of Compliance and Enforcement
                                                                  Center for Tobacco Products


VIA UPS and Electronic Mail

cc:

Soul Vapor
Attn: Aurelius Jeffrey
816 Highland Ave. #5
Princeton, WV 24740

Launchpad.com Inc.
compliance@domain-inc.net

HostGator
abuse@hostgator.com
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 From:              Soul Vapor eJuice
 To:                CTP Office of Compliance
 Subject:           [EXTERNAL] RW2101604
 Date:              Tuesday, June 8, 2021 1:30:40 PM




 CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you
 recognize the sender and know the content is safe.



 Hello,
 I am writing you in regards to a warning letter we received on May 21st for our company Soul Vapor. I just
 spoke with your office today regarding the letter and am writing to let you know what our plan of action is.
 I will have our team work on having the payment gateway removed from our website,
 soulvaporejuice.com, by the end of the week. As for the product in our vape shop, I will have the product
 removed from our shelves and put in it our stock room by the end of the week as well. Now that I have
 some clarification on the PMTA process itself I will work on filing our products with the FDA as soon as
 possible. I will read up on the FDA website and contact you if I have any questions. Thank you for your
 time during the conference call.

 Sincerely,
 Aurelius Jeffrey
 Owner, Soul Vapor
 (304)320-6019
 soulvaporejuice@gmail.com

 Vape the FINE
